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 8
                               UNITED STATES BANKRUPTCY COURT
 9
                 CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION
10

11
      In re:                                            Lead Case No.: 2:23-bk-14154-SK
12
         ITTELLA INTERNATIONAL LLC,                     Jointly Administered with Case Nos.:
13    a California limited liability company
                                                        2:23-bk-14159-SK; 2:23-bk-14161-SK;
                                                        2:23-bk-14157-SK; 2:23-bk-14158-SK;
         ITTELLA’S CHEF, LLC,                           2:23-bk-14155-SK; 2:23-bk-14156-SK; and
14    a California limited liability company            2:23-bk-14160-SK
         TATTOOED CHEF, INC.,
15    a Delaware corporation                            Chapter 11 Cases
16       MYJOJO, INC.,
      a Delaware corporation
17       NEW MEXICO FOOD DISTRIBUTORS, INC.,            DEBTORS’ FIRST AMENDED JOINT
      a New Mexico corporation                          CHAPTER 11 LIQUIDATING PLAN
18       KARSTEN TORTILLA FACTORY, LLC,                 DATED FEBRUARY 21, 2024
      a New Mexico limited liability company
19       BCI ACQUISITION, INC.,
                                                        Confirmation Hearing
      a Delaware corporation                             Date:      TBD
20       TTCF-NM HOLDINGS INC.,                          Time:      TBD
      a Delaware corporation                             Location: Courtroom 1575
21
         All Debtors                                                255 East Temple Street
22                                                                  Los Angeles, California 90012
               Debtors and Debtors-in-Possession.                   [Also VIA ZoomGov]
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 1               Ittella International LLC (“Ittella”), Ittella’s Chef, LLC (“ICLLC”), Tattooed Chef, Inc.

 2    (“TCI”), Myjojo, Inc. (“Myjojo”), New Mexico Food Distributors, Inc. (“NMFD”), Karsten

 3    Tortilla Factory, LLC (“Karsten”), BCI Acquisition, Inc. (“BCI”), and TTCF-NM Holdings Inc.

 4    (“TTCF, and, together with Ittella, ICLLC, TCI, Myjojo, NMFD, Karsten, and BCI, the

 5    “Debtors”), the Chapter 11 debtors and debtors in possession in the above-captioned, jointly

 6    administered Chapter 11 bankruptcy cases (the “Chapter 11 Cases”), hereby propose this First

 7    Amended Joint Chapter 11 Liquidating Plan Dated February 21, 2024 (along with any

 8    amendments, modifications, supplements and exhibits hereto, collectively, the “Plan”) pursuant

 9    to Section 1121(a)1 for resolution of all Claims (as defined below) against, and interests in, the

10    Debtors and their Estates.

11               The Debtors’ First Amended Disclosure Statement Describing Debtor’s First Amended

12    Joint Chapter 11 Liquidating Plan Dated February 21, 2024 (the “Disclosure Statement”),

13    which will accompany the Plan, discusses the Debtors’ history, businesses, Chapter 11 Cases,

14    and estimates of the distributions of the Debtors’ remaining assets to creditors, and contains a

15    summary and discussion of the Plan. Holders of Claims are encouraged to read the Disclosure

16    Statement before voting to accept or reject the Plan.

17               Following solicitation of acceptances for the Plan, the Debtors will seek the Bankruptcy

18    Court’s Confirmation (as defined below) of the Plan. No solicitation materials other than the

19    Disclosure Statement and any schedules, exhibits or other documents attached thereto or

20    referenced therein have been authorized by the Debtors or the Bankruptcy Court for use in

21    soliciting acceptances or rejections of the Plan. As noted in the Disclosure Statement, the

22    Debtors and the Committees (as defined below) recommend that all creditors that receive a

23    ballot and are eligible to vote on the Plan vote in favor of the Plan.

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28        Unless otherwise stated, all Section references herein are to 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”).


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 1                        I.   DEFINITIONS AND RULES OF CONSTRUCTION

 2    A.     Defined Terms.

 3           In addition to the terms defined above, as used herein, the following terms have the

 4    respective meanings specified below (such meanings to be equally applicable to both the singular

 5    and plural, and masculine and feminine forms of the terms defined):

 6           1.      “Administrative Claim” means any Claim for any cost or expense of

 7    administration of the Chapter 11 Cases under Sections 503(b) and 507(a)(1), including, without

 8    limitation, any actual and necessary post-petition expenses of preserving the Estates, any actual

 9    and necessary post-petition expenses of administering and liquidating the Estates, all

10    compensation or reimbursement of expenses to the extent allowed by the Bankruptcy Court

11    under Sections 330, 331, 363 or 503, and any fees or charges assessed against the Estates under

12    28 U.S.C. § 1930.

13           2.      “Allowed” means with respect to any Claim or Equity Interest: (a) a Claim that

14    was listed in the Debtors’ Schedules and that was not listed as contingent, unliquidated, or

15    disputed; (b) a Claim or Equity Interest that is evidenced by a proof of Claim or proof of Equity

16    Interest, as applicable, filed by the applicable Claims Bar Date (or for which Claim or Equity

17    Interest under the Plan, the Bankruptcy Code, the Bankruptcy Rules, or a Final Order of the

18    Bankruptcy Court, a proof of Claim is not required to be filed); or (c) a Claim or Equity Interest

19    allowed pursuant to the Plan or a Final Order of the Bankruptcy Court; provided that, with

20    respect to a Claim or Equity Interest described in clauses (a) and (b) above, such Claim or Equity

21    Interest, as applicable, shall be considered Allowed only if and to the extent that, with respect to

22    such Claim or Equity Interest, the Liquidating Trustee is in agreement with the amount and

23    characterization of the Claim or Equity Interest or no objection thereto has been interposed prior

24    to the deadline fixed by the Bankruptcy Court for voting on the Plan. Any Claim or Equity

25    Interest that has been or is hereafter listed in the Schedules as contingent, unliquidated, or

26    disputed, and for which no proof of Claim or proof of Equity Interest is or has been timely

27    filed shall be expunged without further action by the Debtors and without further notice to

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 1    any party or action, approval, or order of the Bankruptcy Court. Any portion of a Claim

 2    that is satisfied or released during the Chapter 11 Cases is not an Allowed Claim.

 3           3.      “Allowed Class __ Claim” means an Allowed Claim in the Class specified.

 4           4.      “Assets” means all assets of the Debtors’ Estates, including, but not limited to,

 5    “property of the estate” as described in Section 541 and shall, without limitation, include Cash,

 6    Estate Causes of Action, any and all claims and causes of action that may be asserted by the

 7    Debtors against any third party or third parties, proceeds of insurance and insurance policies, all

 8    rights and interests, all personal property, and all files, books and records of the Debtors’ Estates.

 9    For the avoidance of doubt, it is the Debtors’ intent that the term “Assets” of the Debtors’ Estates

10    be interpreted as broadly as possible.

11           5.      “Available Cash” means the Cash in the Liquidating Trust that is not otherwise

12    designated by the Liquidating Trustee as Cash to be used to satisfy Allowed Secured Claims,

13    Allowed Administrative Claims, Allowed Priority Tax Claims, Allowed Other Priority Claims,

14    and expenses of the Liquidating Trust or otherwise subject to a reserve established by the

15    Liquidating Trustee.

16           6.      “Avoidance Action” means any claim or right under the following: Sections 544,

17    545, 547, 548, 549, 550, 551 and 553(b); all prevailing fraudulent conveyance and fraudulent

18    transfer laws; all non-bankruptcy laws vesting in creditors’ rights to avoid, rescind, or recover on

19    account of transfers, including, but not limited to, claims relating to illegal dividends; all

20    preference laws; the Uniform Fraudulent Transfer Act; and California Civil Code sections 3439

21    and 3440, et seq.

22           7.      “Bankruptcy Court” means the United States Bankruptcy Court for the Central

23    District of California, Los Angeles Division or, in the event such court ceases to exercise

24    jurisdiction over the Chapter 11 Cases, such other court that exercises jurisdiction over the

25    Chapter 11 Cases.

26           8.      “Bankruptcy Rules” means, collectively, (a) the Federal Rules of Bankruptcy

27    Procedure (“FRBP”), as amended from time to time, as applicable to the Chapter 11 Cases,

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 1    and (b) the Local Bankruptcy Rules (the “LBR”) applicable to cases pending before the

 2    Bankruptcy Court, as now in effect or hereafter amended.

 3            9.     “Bar Date Order” means the order entered by the Bankruptcy Court on August 3,

 4    2023 [Dkt. 193] setting the Claims Bar Date and Governmental Unit Bar Date.

 5            10.    “Beneficiaries” means the Holders of Claims who are the beneficiaries of the

 6    Liquidating Trust.

 7            11.    “Business Day” means any day which is not a Saturday, a Sunday, or a “legal

 8    holiday” as defined in Bankruptcy Rule 9006(a).

 9            12.    “Cash” means cash or cash equivalents.

10            13.    “Case Closing Date” means the date on which the Bankruptcy Court enters a

11    final decree closing the Chapter 11 Cases, in accordance with Section 350.

12            14.    “Chapter 11 Cases” means the cases under chapter 11 of the Bankruptcy Code,

13    commenced by the Debtors on the Petition Date in the Bankruptcy Court, jointly administered

14    under lead case In re Ittella International, LLC (Case No. 2:23-bk-14154-SK).

15            15.    “Claim” means (a) any right to payment from the Debtors’ Estates, whether or

16    not such right is reduced to judgment, liquidated, unliquidated, fixed, contingent, matured,

17    unmatured, disputed, undisputed, legal, equitable, secured, or unsecured, or (b) any right to an

18    equitable remedy for breach of performance if such breach gives rise to a right of payment

19    from the Debtors’ Estates, whether or not such right to an equitable remedy is reduced to

20    judgment, fixed, contingent, matured, unmatured, disputed, undisputed, secured, or unsecured.

21            16.    “Claims Bar Date” means October 3, 2023, which is the general deadline set

22    pursuant to the Bar Date Order for filing proofs of claim for any Claims against the Debtors

23    that arose prior to the Petition Date and not otherwise subject to the Governmental Unit Bar

24    Date.

25            17.    “Class” means one of the Classes of Claims or Classes of Equity Interests

26    designated in the Plan.

27            18.    “Committees” means the Ittella Committee and the NMFD Committee.

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 1           19.     “Conditions Precedent” shall have the meaning ascribed to such term in Section

 2    VI.A of the Plan.

 3           20.     “Confirmation” means the entry of the order by the Bankruptcy Court confirming

 4    the Plan pursuant to Section 1129.

 5           21.     “Confirmation Date” means the date on which the Clerk of the Bankruptcy Court

 6    enters the Confirmation Order on its docket.

 7           22.     “Confirmation Hearing” means the hearing before the Bankruptcy Court pursuant

 8    to Section 1129 to consider confirmation of the Plan.

 9           23.     “Confirmation Order” means the order of the Bankruptcy Court confirming the

10    Plan in accordance with the provisions of chapter 11 of the Bankruptcy Code.

11           24.     “CRO” means Edward Bidanset, the Debtors’ Chief Restructuring Officer.

12           25.     “Disallowed Claim” means a Claim or any portion thereof that (a) has been

13    disallowed by agreement with the creditor, (b) has been disallowed by Final Order, (c) is listed in

14    the Schedules in an unknown amount, as zero, as contingent, disputed, or unliquidated, or is not

15    listed in the Schedules, and as to which no proof of Claim or Administrative Claim has been

16    Filed, or (d) has been withdrawn by the applicable creditor.

17           26.     “Disputed Claim” means any Claim (a) as to which a proof of Claim or an

18    Administrative Claim has been filed and the dollar amount of such Claim is not specified in a

19    fixed amount or (b) as to which the Debtor or any other party in interest has interposed a timely

20    objection or request for estimation in accordance with the Bankruptcy Code, the Bankruptcy

21    Rules, the Plan and/or any order of the Bankruptcy Court, which objection or request for

22    estimation has not been withdrawn or determined by a Final Order.

23           27.     “Disputed Claims Reserve” means the Cash to be set aside for, and in an amount

24    sufficient to pay the required Distribution under the Plan to all Disputed Claims which have not

25    been finally adjudicated as of the Effective Date and which may become Allowed Claims after

26    the Effective Date. The Disputed Claims Reserve may be established as a separate account, or in

27    an account containing other funds, in the Liquidating Trustee’s discretion.

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 1            28.    “Distribution(s)” means any transfer under the Plan of Cash or other property or

 2    instruments to a Holder of an Allowed Claim.

 3            29.    “Distribution Date(s)” means those dates upon which the Liquidating Trustee

 4    shall make the Distributions to holders of Allowed Claims.

 5            30.    “Dkt.” means the Docket Number of a Filing in the Ittella Chapter 11 Case. All

 6    Filings can be obtained at https://cases.stretto.com/Ittella.

 7            31.    “Effective Date” means the first day when all the Conditions Precedent have been

 8    satisfied or waived pursuant to Section VI.A of the Plan.

 9            32.    “Equity Interests” means any equity interest in the Debtors.

10            33.    “Estates” means the Debtors’ estates created by Section 541(a) upon the Petition

11    Date.

12            34.    “Estate Causes of Action” means any and all manner of causes of action, claims,

13    obligations, suits, debts, judgments, demands, rights of offset or recoupment, damages (actual,

14    compensatory or punitive), counterclaims or affirmative defenses, whatsoever, whether in law or

15    in equity of the Debtors and Estates, including, but not limited to, Avoidance Actions and any

16    and all claims, if any, covered by the Debtors’ prepetition directors and officers insurance policy

17    against former managers, officers, directors, employees and/or agents of the Debtor (except as

18    such claims may be subject to release or exculpation under the Plan). The failure by the Debtors

19    to specifically identify any Estate Cause of Action does not constitute a waiver of such Estate

20    Cause of Action, and all such Estate Causes of Action are expressly preserved.

21            35.    “Exculpated Parties” means the following: (a) the CRO, (b) Levene, Neale,

22    Bender, Yoo & Golubchik L.L.P., (c) Rutan & Tucker LLP, (d) Grant Thornton LLP, (e) Gibson,

23    Dunn & Crutcher LLP, (f) Fisher & Phillips LLP, (g) Loeb & Loeb LLP, (h) Brinkman Law

24    Group, PC, (i) Dundon Advisers LLC, and (j) any other Professional retained by the Estates.

25            36.    “Fee Carve-Out” means the Cash retained in the debtor-in-possession bank

26    accounts, following the Effective Date, in an amount to cover all outstanding Allowed

27    Administrative Claims of the CRO, the Debtors’ Professionals, the Committee Professionals, and

28    any remaining employees and/or contractors of the Debtors.

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 1              37.   “File,” “Filed,” “Files,” or “Filing” means any document(s) properly and timely

 2    filed with the Bankruptcy Court in the Chapter 11 Cases, as reflected on the official docket of the

 3    Bankruptcy Court for the Chapter 11 Cases, and served on parties, as and to the extent that such

 4    filing and service are required pursuant to the Bankruptcy Code, Bankruptcy Rules and/or order

 5    of the Bankruptcy Court.

 6              38.   “Final Order” means an order or judgment of the Bankruptcy Court or other

 7    applicable court as to which the time to appeal, petition for certiorari, or move for reargument or

 8    rehearing has expired and as to which no appeal, petition for certiorari, or other proceedings for

 9    reargument or rehearing shall then be pending; or as to which any right to appeal, reargue,

10    rehear, or petition for certiorari shall have been waived in writing in form and substance

11    satisfactory to the Debtors prior to the Effective Date, or the Liquidating Trustee after the

12    Effective Date, respectively, or, in the event that an appeal, writ of certiorari, reargument or

13    rehearing thereof has been sought, such order or judgment of the Bankruptcy Court or other

14    applicable court shall have been affirmed by the highest court to which such order or judgment

15    was appealed or from which reargument or rehearing was sought, or certiorari shall have been

16    denied, and the time to take any further appeal, petition for certiorari or move for reargument or

17    rehearing shall have expired. In the event that there are no objections to Confirmation of the

18    Plan, the Confirmation Order shall become a Final Order as set forth in Bankruptcy Rule

19    8002(a)(1).

20              39.   “First Administrative Claims Bar Date Order” means the Order Granting

21    Debtors’ Motion To Establish A Bar Date For Filing Administrative Expense Priority Claims

22    Pursuant To 11 U.S.C. § 503 [Dkt. 705] entered by the Bankruptcy Court.

23              40.   “First Administrative Claims Period” means the Petition Date through and

24    including December 31, 2023.

25              41.   “First Administrative Claims Bar Date” means the January 19, 2024 deadline to

26    file any Non-Professional Administrative Claims incurred during the First Administrative Claims

27    Period.

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 1            42.    “General Unsecured Claim” means any Claim that is not a Secured Claim, an

 2    Administrative Expense Claim, a Priority Tax Claim, or an Other Priority Claim. General

 3    Unsecured Claims include, without limitation, unsecured Claims arising from the rejection of

 4    executory contracts and unexpired leases.

 5            43.    “Governmental Unit Bar Date” means December 29, 2023, which is the deadline

 6    set pursuant to the Bar Date Order for filing proofs of claim on behalf of any governmental unit,

 7    as defined in Section 101(27), for any Claims against the Debtors that arose prior to the Petition

 8    Date.

 9            44.    “Holder” means the owner of a Claim or Equity Interest.

10            45.    “Ittella Committee” means the Official Committees of Unsecured Creditors

11    appointed in Ittella’s Chapter 11 Case, as it may be reconstituted from time to time.

12            46.    “Impaired” has the meaning set forth in Section 1124.

13            47.    “GE Letter of Credit” means a Letter of Credit issued by UMB in favor of

14    Grateful Egg, LLC in the amount of $585,900.

15            48.    “GE Letter of Credit Funds” means the Cash held in a segregated account

16    pursuant to the Order Approving Second Stipulation Re Disbursement Of Sale Proceeds

17    Following Closings [Dkt. 609] to secure any Claims of UMB and/or Grateful Egg, LLC arising

18    from draws on the GE Letter of Credit.

19            49.    “Liquidating Trust” means the trust created pursuant to the Plan, Confirmation

20    Order, and the Liquidating Trust Agreement, and created for the benefit of Holders of all

21    Allowed Claims. Except as otherwise expressly provided in the Plan, all of the Assets of the

22    Debtors will be transferred to the Liquidating Trust on the Effective Date of the Plan. The

23    Liquidating Trust will continue and conclude the liquidation of such Assets and the Debtors,

24    including the resolution of all Estate Causes of Action, and make Distributions to the Holders of

25    Allowed Claims and pay the expenses of the Liquidating Trust, all as provided in the Plan.

26            50.    “Liquidating Trust Agreement” means that certain liquidating trust agreement by

27    and between the Debtors and the Liquidating Trustee to be entered into pursuant to the Plan and

28    the Confirmation Order, as such may be amended from time to time.

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 1             51.   “Liquidating Trust Assets” means any and all Assets of the Debtors and Estates,

 2    including Cash, Estate Causes of Action and other personal and real property, all of which shall

 3    be transferred or assigned to the Liquidating Trust on the Effective Date of the Plan, free and

 4    clear of any liens or claims, except as set forth in the Disclosure Statement and/or Plan, provided

 5    the allocation of the Liquidating Trust Assets between and among the Debtors shall be as set

 6    forth in the Disclosure Statement and/or Plan.

 7             52.   “Liquidating Trustee” means the Person selected by the Ittella Committee and

 8    designated prior to the Confirmation Hearing, and any successor trustee appointed pursuant to

 9    the Plan and Liquidating Trust Agreement, that has the powers and responsibilities set forth in

10    the Plan, the Confirmation Order and the Liquidating Trust Agreement and in such capacity shall

11    act as a liquidator of the Debtors and its assets for the benefit of Holders of Allowed Claims.

12    Whenever the Liquidating Trustee is referred to herein, all such references are qualified by the

13    Liquidating Trustee’s powers, rights and obligations as set forth in the Plan and Liquidating

14    Trust Agreement.

15             53.   “Liquidating Trustee Claim Objection Deadline” means the first Business Day to

16    occur after 365 days after the Effective Date, provided, however, that such date may be extended

17    by (a) order of the Bankruptcy Court to a later date upon motion brought by the Liquidating

18    Trustee at any time before the occurrence thereof, or (b) in the case of any specific Claim, by

19    agreement between the Holder of the Claim and the Liquidating Trustee. Any such later date

20    shall then become the Liquidating Trustee Claim Objection Deadline.

21             54.   “Mpac” means Mpac Langen, Inc. and its parents, subsidiaries, and affiliates.

22             55.   “NMFD Committee” means the Official Committees of Unsecured Creditors

23    appointed in NMFD’s Chapter 11 Case, as it may be reconstituted from time to time.

24             56.   “Non-Professional Administrative Claim” means an Administrative Claim other

25    than one incurred by a Professional.

26             57.   “Other Priority Claim” means any Claim accorded priority in right of payment

27    under section 507(a) of the Bankruptcy Code, other than an Administrative Claim or Priority Tax

28    Claim.

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 1            58.    “Person” means any individual, corporation general partnership, limited

 2    partnership, association, joint stock company, joint venture, estate, trust, government or any

 3    political subdivision, governmental unit, official committee appointed by the UST, unofficial

 4    committee of creditors, or other entity.

 5            59.    “Petition Date” means July 2, 2023, the date on which the Debtors filed their

 6    voluntary petitions commencing the Chapter 11 Cases.

 7            60.    “Post-Effective Date Notice Party” has the meaning set forth in Section V.I of this

 8    Plan.

 9            61.    “Post-Effective Date Plan Expenses” means all voluntary and involuntary costs,

10    expenses, charges, obligations, or liabilities of any kind or nature, whether matured, unmatured,

11    non-contingent, contingent, liquidated, or unliquidated (collectively, “Expenses”) incurred after

12    the Effective Date related to the implementation of this Plan, including, but not limited to: (a) the

13    Expenses associated with administering this Plan, including any taxes assessed against the

14    Liquidating Trust Assets; (b) all fees of the UST; (c) the Expenses associated with making the

15    Distributions required by this Plan; (d) any Expenses associated with preparing and filing tax

16    returns and paying taxes; (e) the Expenses of independent contractors and professionals

17    providing services to the Liquidating Trustee; and (f) the fees of the Liquidating Trustee, and the

18    reimbursement of expenses, to which the Liquidating Trustee is entitled under the Liquidating

19    Trust Agreement.

20            62.    “Priority Tax Claim” means a Claim of a governmental unit of the kind specified

21    in Section 507(a)(8).

22            63.    “Pro Rata,” “Pro Rata Share,” and “Pro Rata Basis” means, at any time, the

23    proportion that the face amount of a Claim in a particular Class bears to the aggregate face

24    amount of all Claims (including Disputed Claims, but excluding Disallowed Claims) in such

25    Class; and “face amount,” as used herein, means (a) when used in reference to a Disputed Claim,

26    the full stated liquidated amount claimed by the Holder of the Claim in any proof of Claim

27    timely filed with the Bankruptcy Court or otherwise deemed timely filed by any Final Order of

28

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 1    the Bankruptcy Court or other applicably bankruptcy law; and (b) when used in reference to an

 2    Allowed Claim, the allowed amount of such Claim.

 3           64.     “Professionals” means, for purposes of this Plan, any person (a) employed in

 4    accordance with an order of the Bankruptcy Court under Sections 327, 363 or 1103 and to be

 5    compensated for services under Sections 327, 328, 329, 330, 331 and 504, or (b) for which

 6    compensation or reimbursement is requested under Section 503(b)(2)-(b)(6).

 7           65.     “Rejection Damage Claim” means a Claim for any obligations or damages arising

 8    under an unexpired real-property or personal-property lease or executory contract that the Estates

 9    reject under Bankruptcy Code section 365 or pursuant to the terms of this Plan.

10           66.     “Released Parties” means the following: (a) the CRO, (b) Levene, Neale, Bender,

11    Yoo & Golubchik L.L.P., (c) Rutan & Tucker LLP, (d) Grant Thornton LLP, (e) Gibson, Dunn

12    & Crutcher LLP, (f) Fisher & Phillips LLP, (g) Loeb & Loeb LLP, (h) Brinkman Law Group,

13    PC, (i) Dundon Advisers LLC, and (j) any other Professional retained by the Estates.

14           67.     “Schedules” means the schedules of assets and liabilities, list of equity security

15    holders, and statement of financial affairs filed by the Debtors as required by the Bankruptcy

16    Code and Bankruptcy Rules.

17           68.     “Secured Claim” means a Claim against the Debtors to the extent of the value, as

18    determined by the Bankruptcy Court pursuant to Section 506(a), of any interest in property of the

19    Debtors’ Estates securing such Claim.

20           69.     “UMB” means UMB Bank, n.a.

21           70.     “UST” means the United States Trustee

22           71.     “Voting Deadline” means 5:00 p.m. (Pacific Time) on ____________ 2024, the

23    date established by order of the Bankruptcy Court for receipt of ballots voting to accept or reject

24    the Plan.

25    B.     Other Terms.

26           The words “herein,” “hereof,” “hereto,” “hereunder,” and others of similar import refer to

27    the Plan as a whole and not to any particular section, subsection, or clause contained in the Plan.

28    A term used herein that is not defined herein shall have the meaning ascribed to that term, if any,

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 1    in the Bankruptcy Code or Bankruptcy Rules and shall be construed in accordance with the rules

 2    of construction thereunder. The definition given to any term or provision in this Plan supersedes

 3    any different meaning that may be given to that term or provision in the Disclosure Statement.

 4    Whenever it is appropriate from the context, each term, whether stated in the singular or the

 5    plural, includes both the singular and the plural. Each pronoun stated in the masculine, feminine

 6    or neuter includes each of the masculine, feminine and neuter. Any reference to an exhibit,

 7    schedule, instrument or other document means such exhibit, schedule, instrument or other

 8    document as it has been, or may be, amended, modified, restated or supplemented as of the

 9    Confirmation Date, and any such exhibit, schedule, instrument or other document shall be

10    deemed to be included in this Plan, regardless of when it is filed

11    C.      Computation of Time.

12            In computing any period of time prescribed or allowed by the Plan, unless otherwise

13    expressly provided, the provisions of FRBP 9006(a) shall apply.

14    D.      Exhibits.

15            Any and all exhibits to the Disclosure Statement and Plan are incorporated into and are a

16    part of the Plan as if set forth in full herein.

17                        II.   CLASSIFICATION AND TREATMENT OF CLAIMS
18    A.      What Creditors and Interest Holders Will Receive Under the Proposed Plan.

19            As required by the Bankruptcy Code, the Plan classifies Claims and Interests in various

20    Classes according to their right to priority. The Plan states whether each Class of Claims and

21    Equity Interests is impaired or unimpaired and whether each Class is entitled to vote on the Plan.

22    The Plan provides the treatment each Class will receive.

23    B.      Unclassified Claims.

24            In accordance with Section 1123(a)(1), Administrative Expense Claims and Priority Tax

25    Claims have not been classified. Holders of Administrative Expense Claims and Priority Tax

26    Claims do not have a right to vote to accept or reject the Plan. However, Administrative Expense

27    Claims and Priority Tax Claims are identified in this Disclosure Statement and the accompanying

28    Plan, and their treatment is described, to promote “enabl[ing] a hypothetical reasonable investor

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 1    typical of holders of claims or interests of the relevant class to make an informed judgment about

 2    the plan[.]”

 3           1.      Administrative Expense Claims.

 4           An Administrative Expense Claim is a Claim that is entitled to priority under Sections

 5    503(b) and 507(a)(1). The Administrative Expense Claims consist of: (a) the fees and expenses

 6    of the Debtors’ Professionals, (b) the fees and expenses of the Committees’ Professionals, and (c)

 7    if any, the Claims for goods provided and services rendered to the Debtors during the Chapter 11

 8    Cases. Any person or entity asserting to be a Holder of an Administrative Expense Claim,

 9    including for final allowance of professional fees, shall have an additional sixty (60) calendar

10    days after the Effective Date in which to file requests for payment of such claims in the Chapter

11    11 Cases, provided, however, that Holders of non-Professional Administrative Claims that were

12    incurred or accrued between the Petition Date and December 31, 2023 that did not timely file

13    requests for the allowance and payment of their non-Professional Administrative Claim prior to

14    the First Administrative Claims Bar Date of January 19, 2024 are barred by the First

15    Administrative Claims Bar Date Order from asserting such non-Professional Administrative

16    Claim. Pursuant to orders of the Bankruptcy Court, the Debtors have made payments to the

17    Professionals for a portion of their fees and expenses. The following chart lists the estimated

18    Allowed Administrative Expense Claims against the Debtors and shows the proposed treatment of

19    Allowed Administrative Expense Claims:

20

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24    ///

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 1         Class
       Composition       Amount of       Amount and         Impaired
 2      (Applicable        Claims         Timing of            or
          Case(s))        (Approx.)      Distributions     Unimpaired               Detail on Asserted Claims
 3          Non-        $1,602,011.39         Allowed              Not
        Professional                      Claims to be      Applicable;
 4     Administrative                      paid in full,   Not Entitled
           Claims                            as soon as        to Vote
 5       (All Cases)                        practicable
                                         after the later
 6                                                of the
                                              Effective
                                           Date or the
 7
                                               date the
                                               Claim is
 8                                            Allowed
                                                (unless
 9                                           otherwise
                                                agreed)
10
                                                                                                  See also Claims Chart.
11
        Professional    $1,800,000.00         Allowed              Not    Unpaid Professional Fees from First Interim Fee
       Administrative                     Claims to be     Applicable;                           Applications as follows:
12        Claims                           paid in full,   Not Entitled
        (All Cases)                          as soon as        to Vote
13                                          practicable
                                         after the later
14                                                of the
                                              Effective
15                                         Date or the
                                               date the
16                                             Claim is
                                              Allowed
17                                              (unless
                                             otherwise
18                                              agreed)                   Plus an estimated additional $801,567.61 in
                                                                          estimated additional Professional Administrative
19                                                                        Claims incurred through the Effective Date
       TOTAL            $3,402,011.39
20

21

22

23

24
      ///
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 1           2.       Priority Tax Claims.

 2           A Priority Tax Claim is a claim of a governmental unit of a type that is entitled to priority

 3    under Section 507(a)(8). The following chart lists the estimated Allowed Priority Tax Claims

 4    against the Debtors and shows the proposed treatment of Allowed Priority Tax Claims:

 5

 6        Class
       Composition    Amount of     Amount and         Impaired
 7     (Applicable      Claims       Timing of            or
         Case(s))      (Approx.)    Distributions     Unimpaired       Detail on Asserted Claims
 8     Priority Tax   $148,828.80        Allowed              Not
          Claims                     Claims to be      Applicable;
 9      (All Cases)                   paid in full,   Not Entitled
                                        as soon as        to Vote
10                                     practicable
                                    after the later
11                                           of the
                                         Effective
12                                    Date or the
                                          date the
13                                        Claim is
                                         Allowed
14                                         (unless
                                        otherwise
15                                         agreed)

16

17

18

19

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23                                                                                    See also Claims Chart.

24

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 1    C.     Classified Claims and Interests.

 2           1.      Secured Claim.

 3           There is one Class with a Secured Claim under the Plan. The following chart lists the one

 4    Class with a Secured Claim and shows the estimated amount of the Allowed Secured Claim in

 5    such Class and the proposed treatment of the Allowed Secured Claim in the Class:

 6
                                   Class
 7                            Composition
                               (Applicable      Amount of Claim           Amount and Timing           Impaired or
 8          Class                 Case(s)            (Approx.)               of Distributions         Unimpaired
              1               UMB Secured                $150,000.00       Allowed Claims to be        Unimpaired;
 9                            Claim for any       (This Claim could      paid in full, on the later   Not Entitled to
                           draws upon and/or         be up to the full   of the Effective Date or               Vote
10                          expenses related           amount of the        the date the Claim is
                            to the GE Letter    $585,900 GE Letter               Allowed (unless
11                           of Credit issued           of Credit; the          otherwise agreed)
                            by UMB in favor     $150,000 amount is
12                          of Grateful Egg,             the Debtors’
                                LLC in the          estimation of the
13                              amount of        allowable Grateful
                                 $585,900        Egg, LLC claim to
14                                (Ittella)       be drawn from the
                                                         GE Letter of
15
                                                              Credit.)
16

17           2. Other Priority Claims.
18           Given the de minimis extent of Other Priority Claims and because they will be paid in full,
19    there is one Class of Other Priority Claims. The following chart lists the single Class of Other
20    Priority Claims and shows the estimated amount of Other Priority Claims and the proposed
21    treatment thereof:
22
                 Class
23           Composition                                                              Amount and      Impaired
             (Applicable                                                               Timing of          or
24     Class   Case(s))                 Amount of Claims (Approx.)                    Distributions Unimpaired
         2       Other                                                                     Allowed      Impaired;
25
                Priority                                                               Claims to be    Entitled to
26              Claims                                                                  paid in full,        Vote
              (All Cases)                                                                 as soon as
27                                                                                       practicable
                                                                                      after the later
28                                                                                             of the


                                                           17
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 1
                Class
 2           Composition                                                  Amount and     Impaired
             (Applicable                                                   Timing of        or
 3     Class   Case(s))             Amount of Claims (Approx.)            Distributions Unimpaired
                                                                               Effective
 4                                                                          Date or the
                                                                                date the
 5                                                                              Claim is
                                                                               Allowed
 6                                                                               (unless
                                                                              otherwise
 7
                                                                                 agreed)
 8

 9

10           3. General Unsecured Claims.

11           There are eight Classes of General Unsecured Claims under the Plan – one Class for each

12    Debtor. The following chart lists the eight Classes of General Unsecured Claims and shows the

13    estimated amount of Allowed General Unsecured Claims in each Class and the proposed

14    treatment of the Allowed General Unsecured Claims in each Class:

15
                             Class
16                       Composition
                          (Applicable      Amount of Claims    Amount and Timing         Impaired or
17          Class           Case(s))          (Approx.)           of Distributions       Unimpaired
              3             General            $3,315,006.71      Holders of Allowed         Impaired;
18                      Unsecured Claims                        Claims paid up to 5%        Entitled to
                             (BCI)                                    of the amount of            Vote
19                                                             Allowed Claim as soon
                                                                   as practicable from
20                                                                     Available Cash
21

22

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 1                       Class
                     Composition
 2                    (Applicable      Amount of Claims    Amount and Timing          Impaired or
          Class         Case(s))          (Approx.)           of Distributions        Unimpaired
 3          4           General          $27,093,294.98       Holders of Allowed          Impaired;
 4                  Unsecured Claims                        Claims shall receive a       Entitled to
                        (Ittella)                         Pro Rata Share of Cash               Vote
 5                                                         remaining after (1) the
                                                             payment in full of all
 6                                                               Allowed Secured
                                                                 Claims, Allowed
 7                                                        Administrative Claims,
                                                            Allowed Priority Tax
 8                                                          Claims, and Allowed
                                                            Other Priority Claims
 9                                                         and (2) the payment of
                                                          up to 5% of the amount
10                                                            of Allowed General
                                                             Unsecured Claims in
11                                                        Classes 3, 5-7 and 9-10
                                                            as soon as practicable
12                                                           from Available Cash
13
            5            General                $682.02      Holders of Allowed           Impaired;
14                  Unsecured Claims                       Claims paid up to 5%          Entitled to
                        (ICLLC)                                  of the amount of              Vote
15                                                        Allowed Claim as soon
                                                              as practicable from
16                                                                Available Cash

17          6           General                 $150.00      Holders of Allowed           Impaired;
                    Unsecured Claims                       Claims paid up to 5%          Entitled to
18                     (Karsten)                                 of the amount of              Vote
                                                          Allowed Claim as soon
19                                                            as practicable from
20                                                                Available Cash

21          7            General                $719.64      Holders of Allowed           Impaired;
                    Unsecured Claims                       Claims paid up to 5%          Entitled to
22                      (Myjojo)                                 of the amount of              Vote
                                                          Allowed Claim as soon
23                                                            as practicable from
                                                                  Available Cash
24

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                                               19
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 1                        Class
                     Composition
 2                    (Applicable      Amount of Claims     Amount and Timing           Impaired or
          Class         Case(s))          (Approx.)             of Distributions        Unimpaired
 3          8            General           $6,603,488.46         Holders of Allowed         Impaired;
 4                  Unsecured Claims                       Claims shall receive up         Entitled to
                        (NMFD)                              to 1% of the amount of               Vote
 5                                                         their claims to the same
                                                           priority and extent as of
 6                                                                  Allowed General
                                                               Unsecured Claims in
 7                                                             Classes 3, 5-7 and 9-
                                                                    10, and then also
 8                                                                 receive a Pro Rata
                                                                        Share of Cash
 9                                                           remaining after (1) the
                                                               payment in full of all
10                                                                  Allowed Secured
                                                                    Claims, Allowed
11                                                          Administrative Claims,
                                                              Allowed Priority Tax
12                                                            Claims, and Allowed
                                                              Other Priority Claims
13
                                                             and (2) the payment of
14                                                         up to 5% of the amount
                                                                 of Allowed General
15                                                             Unsecured Claims in
                                                           Classes 3, 5-7 and 9-10
16                                                            as soon as practicable
                                                              from Available Cash,
17                                                             subject to the NMFD
                                                                Split (as defined and
18                                                                  described below)
            9           General            $8,965,635.37         Holders of Allowed         Impaired;
19                  Unsecured Claims                          Claims paid up to 5%         Entitled to
                         (TCI)                                       of the amount of            Vote
20                                                         Allowed Claim as soon
                                                                  as practicable from
21                                                                    Available Cash
22
            10          General                  $292.38      Holders of Allowed            Impaired;
23                  Unsecured Claims                        Claims paid up to 5%           Entitled to
                        (TTCF)                                    of the amount of               Vote
24                                                         Allowed Claim as soon
                                                               as practicable from
25                                                                 Available Cash

26
                                          $45,979,269.56
27

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 1           4. Equity Interest Holders.

 2           There are eight Classes of Equity Interest Holders under the Plan – one Class for each

 3    Debtor. The following chart lists the eight Classes of Equity Interest Holders and shows the

 4    proposed treatment of the Equity Interests in each Class:

 5

 6                            Class
                           Composition
 7
                           (Applicable       Amount of Claims      Amount and Timing          Impaired or
 8          Class            Case(s)            (Approx.)             of Distributions        Unimpaired
             11           Equity Interests                N/A           Holders of Equity          Impaired;
 9                            (BCI)                                Interests in this Debtor    Conclusively
                                                                           will not receive     Presumed to
10                                                                anything under the Plan     Have Rejected
                                                                                               the Plan; Not
11                                                                                                Entitled to
                                                                                                        Vote
12

13           12           Equity Interests                 N/A          Holders of Equity          Impaired;
                             (Ittella)                             Interests in this Debtor    Conclusively
14                                                                         will not receive     Presumed to
                                                                  anything under the Plan     Have Rejected
15                                                                                             the Plan; Not
                                                                                                  Entitled to
16                                                                                                      Vote

17
             13           Equity Interests                 N/A          Holders of Equity          Impaired;
18                           (ICLLC)                               Interests in this Debtor    Conclusively
                                                                           will not receive     Presumed to
19                                                                anything under the Plan     Have Rejected
                                                                                               the Plan; Not
20                                                                                                Entitled to
                                                                                                        Vote
21

22           14           Equity Interests                 N/A          Holders of Equity          Impaired;
                            (Karsten)                              Interests in this Debtor    Conclusively
23                                                                         will not receive     Presumed to
                                                                  anything under the Plan     Have Rejected
24                                                                                             the Plan; Not
                                                                                                  Entitled to
25                                                                                                      Vote
26

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 1                           Class
                          Composition
 2                        (Applicable       Amount of Claims     Amount and Timing          Impaired or
            Class           Case(s)            (Approx.)            of Distributions        Unimpaired
 3           15          Equity Interests                N/A          Holders of Equity          Impaired;
                           (Myjojo)                              Interests in this Debtor    Conclusively
 4                                                                       will not receive     Presumed to
                                                                anything under the Plan     Have Rejected
 5
                                                                                             the Plan; Not
 6                                                                                              Entitled to
                                                                                                      Vote
 7
             16          Equity Interests                 N/A         Holders of Equity          Impaired;
 8                          (NMFD)                               Interests in this Debtor    Conclusively
                                                                         will not receive     Presumed to
 9
                                                                anything under the Plan     Have Rejected
10                                                                                           the Plan; Not
                                                                                                Entitled to
11                                                                                                    Vote

12           17          Equity Interests                 N/A         Holders of Equity          Impaired;
                             (TCI)                               Interests in this Debtor    Conclusively
13
                                                                         will not receive     Presumed to
14                                                              anything under the Plan     Have Rejected
                                                                                             the Plan; Not
15                                                                                              Entitled to
                                                                                                      Vote
16
             18          Equity Interests                 N/A         Holders of Equity          Impaired;
17
                            (TTCF)                               Interests in this Debtor    Conclusively
18                                                                       will not receive     Presumed to
                                                                anything under the Plan     Have Rejected
19                                                                                           the Plan; Not
                                                                                                Entitled to
20                                                                                                    Vote

21

22
                            III.    MEANS OF EFFECTUATING THE PLAN
23
             On or soon as practicable after the Effective Date, the following shall occur with respect
24
      to the implementation of the Plan: (1) all acts, documents and agreements appropriate to
25
      implement the Plan shall be executed, (2) the Liquidating Trustee, as disbursing agent under the
26
      Plan, shall make all Distributions required to be made on or about the Effective Date of the Plan
27
      in accordance with the terms and conditions of the Plan, and (3) the Liquidating Trustee, as
28

                                                     22
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 1    disbursing agent under the Plan, shall fund reserves required to be funded pursuant to the Plan.

 2    Upon the Effective Date, all transactions and matters provided for under the Plan shall be deemed

 3    to have been authorized and approved by the Debtors without any requirement of further action

 4    by the Debtor, or Holders of Equity Interests in the Debtors.

 5    A.      The Intercompany Compromise.

 6            The Confirmation Order shall approve the Intercompany Compromise whereby (1) all

 7    Intercompany Claims, other than Ittella’s claim against NMFD, will be disallowed and (2) the

 8    Debtors’ Cash, including any that is on hand on the Effective Date or recovered thereafter, will be

 9    consolidated into Ittella, provided that (3) Ittella shall pay each other Debtor funds sufficient to

10    pay (a) in full, the Allowed Secured Claims, Allowed Administrative Claims, Allowed Priority

11    Tax Claims, and Allowed Other Priority Claims of the other Debtors and (b) other than NMFD,

12    up to a 5% distribution to the Holders of Allowed General Unsecured Claims against the Other

13    Debtors. Holders of Allowed General Unsecured Claims of Ittella and NMFD shall share Pro

14    Rata in all remaining distributions, provided, however, that Ittella’s claim against NMFD shall be

15    Allowed in all respects, such that Ittella shall receive 90% of all distributions to Holders of

16    Allowed General Unsecured Claims of NMFD (the “NMFD Split”). To the extent all Allowed

17    Claims against Ittella are paid in full, plus interest, the Liquidating Trustee shall make further pro-

18    rata distributions to the Holders of Allowed General Unsecured Claims of each other Debtor until

19    all such claims are paid in full, plus interest.

20    B.      Funding for the Plan / Vesting of Assets.

21            Unless otherwise expressly provided under the Plan, on the Effective Date, the Debtors’

22    Assets, including, without limitation, all Estate Causes of Action, will vest in the Liquidating

23    Trust free and clear of all claims, liens, encumbrances, charges and other interests, subject to the

24    provisions of the Plan. On and after the Effective Date, the transfer of the Debtors’ Assets from

25    the Estates to the Liquidating Trust will be deemed final and irrevocable and Distributions may be

26    made from the Liquidating Trust.

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 1         In connection with the foregoing:

 2                1.      On the Effective Date, the appointment of the Liquidating Trustee shall

 3         become effective and the Liquidating Trustee shall begin to administer the Liquidating

 4         Trust pursuant to the terms of the Liquidating Trust Agreement and the Plan and may use,

 5         acquire and dispose of property of the Liquidating Trust free of any restrictions imposed

 6         under the Bankruptcy Code. The Liquidating Trustee shall have the rights, powers and

 7         duties provided for by the Plan, the Liquidating Trust Agreement, and by the Confirmation

 8         Order. The Liquidating Trustee, in the exercise of its reasonable business judgment, shall

 9         be responsible for liquidating the remaining assets of the Debtors, winding up the financial

10         affairs of the Debtors, and for making Distributions to Holders of Claims in as efficient,

11         effective and economical manner as is reasonably practicable so as to produce for Holders

12         of Claims as favorable a recovery on their Claims as is reasonably possible under the

13         circumstances of the Chapter 11 Cases.

14                2.      The Confirmation Order will provide the Liquidating Trustee with express

15         authority to convey, transfer and assign any and all of the Liquidating Trust Assets and to

16         take all actions necessary to effectuate same and to prosecute, settle and compromise

17         (including, without limitation, by set-off) any and all Estate Causes of Action and

18         Disputed Claims, without any need for notice to creditors or order or approval of the

19         Bankruptcy Court.

20                3.      As of the Effective Date, the Liquidating Trust Assets will be free and clear

21         of all liens, claims and interests of Holders of Claims and Equity Interests, except as

22         otherwise provided in the Plan.

23                4.      On the Effective Date, the Debtors shall retain, and not transfer to the

24         Liquidating Trust, Cash in an amount to cover all outstanding Administrative Claims,

25         whether actual, estimated, or unpaid, of the CRO, the Debtors’ Professionals, the

26         Committees’ Professionals, and remaining employees and/or contractors (the “Fee Carve-

27         Out”). The Fee Carve-Out will remain in the debtor-in-possession bank accounts, under

28         the control of the CRO, until orders on final fee applications have been entered in the

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 1             Bankruptcy Cases for such Professionals or the Effective Date for the CRO and remaining

 2             employees and/or contractors.       Any funds remaining from the Fee Carve-Out, after

 3             payment in full, shall be turned over and transferred to the Liquidating Trust. Likewise, in

 4             the event the Fee Carve-Out is inadequate to cover all outstanding Administrative Claims

 5             of the CRO, the Debtors’ Professionals, the Committees’ Professionals, and remaining

 6             employees and/or contractors, the Liquidating Trustee shall transfer to the debtor-in-

 7             possession bank accounts Cash in an amount to pay all outstanding Administrative Claims

 8             of the foregoing parties in full.

 9    C.       Establishment of the Liquidating Trust.

10             1.      Generally.
11             On the Effective Date, the Liquidating Trust Agreement will become effective, and, if not

12    previously signed, the Debtors and the Liquidating Trustee will execute the Liquidating Trust

13    Agreement. The Liquidating Trust is organized and established as a trust for the benefit of the

14    Beneficiaries and is intended to qualify as a liquidating trust within the meaning of Treasury

15    Regulation Section 301.7701-4(d).

16             2.      Beneficiaries.
17             In accordance with Treasury Regulation Section 301.7701-4(d), the Beneficiaries of the

18    Liquidating Trust will be the Holders of all Allowed Claims against the Debtors. The Holders of

19    such Allowed Claims will receive an allocation of the Liquidating Trust Assets as provided for in

20    the Plan and the Liquidating Trust Agreement. The Beneficiaries of the Liquidating Trust shall be

21    treated as the grantors and owners of such Beneficiaries’ respective portion of the Liquidating

22    Trust.

23             3.      Implementation of the Liquidating Trust.
24             On the Effective Date, the Debtors, on behalf of the Estates, and the Liquidating Trustee

25    will be authorized and directed to take all such actions as required to transfer to the Liquidating

26    Trust, from the Debtors and Estates, the Debtors’ Assets. From and after the Effective Date, the

27    Liquidating Trustee will be authorized to, and will, take all such actions to implement the

28    Liquidating Trust Agreement and the provisions of the Plan as are contemplated to be

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 1    implemented by the Liquidating Trustee, including, without limitation, directing Distributions to

 2    Holders of Allowed Claims, objecting, compromising and settling Claims (including, without

 3    limitation, exercising set-off rights and/or seeking the subordination and/or reclassification of

 4    Claims), prosecuting or otherwise resolving Estate Causes of Action and causing Distributions

 5    from the Liquidating Trust to be made to the Beneficiaries. The funding of the Liquidating Trust

 6    will be from the Debtors’ Cash on hand as of the Effective Date and the proceeds of the

 7    liquidation by the Liquidating Trustee of any other Liquidating Trust Assets.

 8           4.      Transfer of the Debtors’ Assets.
 9           On the Effective Date, pursuant to the Plan and Sections 1123, 1141 and 1146(a), the

10    Debtors are authorized and directed to transfer, grant, assign, convey, set over, and deliver to the

11    Liquidating Trustee all of the Debtors’ and Estates’ right, title and interest in and to their Assets,

12    including all Estate Causes of Action, free and clear of all liens, Claims, encumbrances or

13    interests of any kind in such property, except for the Fee Carve-Out or as otherwise expressly

14    provided in the Plan. To the extent required to implement the transfer of the Debtors’ Assets

15    from the Debtors and Estates to the Liquidating Trust, all Persons will cooperate with the Debtors

16    and Estates to assist the Debtors and Estates to implement said transfers.

17           5.      Provisions Relating to Federal Income Tax Compliance.
18           A transfer to the Liquidating Trust shall be treated for all purposes of the Internal Revenue

19    Code of 1986, as amended (the “Internal Revenue Code”), as a transfer to creditors to the extent

20    creditors are Beneficiaries. For example, such treatment shall apply for purposes of Internal

21    Revenue Code sections 61(a)(12), 483, 1001, 1012 and 1274. Any such transfer shall be treated

22    for federal income tax purposes as a deemed transfer to the beneficiary-creditors followed by a

23    deemed transfer by the beneficiary-creditors to the Liquidating Trusts. The Beneficiaries of the

24    Liquidating Trust shall be treated for federal income tax purposes as the grantors and deemed

25    owners of the Liquidating Trust.

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 1    D.     Liquidating Trustee / Post-Confirmation Management.

 2           1.      Representative of the Estates.

 3           The Ittella Committee shall identify the Liquidating Trustee in its sole discretion subject to

 4    consultation with the Debtors and the NMFD Committee. The Liquidating Trustee will be

 5    appointed as the representative of the Debtors’ Estates pursuant to Sections 1123(a)(5), (a)(7) and

 6    (b)(3)(B) and as such will be vested with the authority and power (as further detailed in the

 7    Liquidating Trust Agreement) to take all actions, including, without limitation, on behalf of the

 8    Debtors and the Liquidating Trust, (i) to object to, settle and compromise Claims (including any

 9    Claim for payment of any Administrative Expense) against the Debtors (including, without

10    limitation, exercising set-off rights and/or seeking the subordination and/or reclassification of

11    Claims) and Equity Interests in the Debtors; (ii) to administer, investigate, prosecute, settle and

12    abandon all Estate Causes of Action assigned to the Liquidating Trust; (iii) to make Distributions

13    provided for in the Plan, including, but not limited to, on account of Allowed Claims; and (iv) to

14    take such action as required to administer, wind-down, and close the Chapter 11 Cases.

15           Except only for the filing of a final decree to close the Chapter 11 Case pursuant to FRBP

16    3022, the Liquidating Trustee may take, as representative of the Estates, all acts to implement and

17    consummate the Plan and the Liquidating Trust Agreement, including, without limitation, the acts

18    set forth in this Section III of the Plan, without any need for notice to creditors or order or

19    approval of the Bankruptcy Court. As the representative of the Estates, the Liquidating Trustee

20    will be vested with all of the rights and powers of the Debtors and Estates with respect to all

21    Estate Causes of Action assigned and transferred to the Liquidating Trust, and the Liquidating

22    Trustee will be substituted in place of the Debtors and Estates, as applicable, as the party in

23    interest in all such litigation pending as of the Effective Date.

24           From and after the Effective Date, the Liquidating Trustee shall, without any further

25    notice or action, order, or approval of the Bankruptcy Court, pay in Cash the reasonable legal,

26    professional, or other fees and expenses related to implementation and consummation of the Plan

27    and Liquidating Trust Agreement incurred by the Liquidating Trust or any professionals

28    employed by the Liquidating Trust.

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 1           2.      No Liability of the Liquidating Trustee.

 2           To the maximum extent permitted by law, the Liquidating Trustee, its employees, officers,

 3    directors, agents, members, and representatives, and professionals employed or retained by the

 4    Liquidating Trustee (the “Liquidating Trustee’s Agents”), will not have or incur liability to any

 5    Person for an act taken or omission made in good faith in connection with or related to the

 6    administration of the Liquidating Trust Assets, the implementation of the Plan and the

 7    Distributions made thereunder or Distributions made under the Liquidating Trust Agreement;

 8    provided, however, that the foregoing limitation shall not apply to any damages suffered or

 9    incurred by any Holder of a Claim or Beneficiary that are found in a final judgment by a

10    court of competent jurisdiction (not subject to further appeal) to have resulted primarily

11    and directly from the fraud, gross negligence, willful misconduct, or from profit derived

12    from a breach of trust by the Liquidating Trustee or the Liquidating Trustee’s Agents. The

13    Liquidating Trustee, the Liquidating Trustee’s Agents, and their respective employees, officers,

14    directors, agents, members, and representatives, and professionals employed or retained by any of

15    them, will in all respects be entitled to reasonably rely on the advice of counsel with respect to

16    their duties and responsibilities under the Plan and the Liquidating Trust Agreement. Entry of the

17    Confirmation Order constitutes a judicial determination that the exculpation provision contained

18    in this Section of the Plan is necessary to, inter alia, facilitate Confirmation and feasibility and to

19    minimize potential claims arising after the Effective Date for indemnity, reimbursement or

20    contribution from the Estate, or the Liquidating Trust, or their respective property. The entry of

21    the Confirmation Order confirming the Plan will also constitute a res judicata determination of the

22    matters included in the exculpation provisions of the Plan. Notwithstanding the foregoing,

23    nothing herein or in this Section of the Plan will alter any provision in the Liquidating Trust

24    Agreement that provides for the potential liability of the Liquidating Trustee to any Person.

25           3.      Compensation of Liquidating Trustee/Removal of Liquidating Trustee.

26           On the Effective Date of the Plan, the Liquidating Trustee shall be appointed to serve

27    under the Plan and the Liquidating Trust Agreement. The Liquidating Trustee’s compensation

28    shall be as provided in the Liquidating Trust Agreement. The Liquidating Trustee shall serve

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 1    during the term of the Plan; provided, however, that, upon motion made with notice and an

 2    opportunity for a hearing given to the Post-Effective Date Notice Parties, any party-in-interest

 3    shall be entitled to request, for cause shown, that the Bankruptcy Court terminate the employment

 4    of the Liquidating Trustee and replace it with another Person, who if appointed by Final Order of

 5    the Bankruptcy Court, will have all of the rights, powers and duties provided to the Liquidating

 6    Trustee by the Plan, the Liquidating Trust Agreement, the Confirmation Order and by the

 7    provisions of the Final Order of the Bankruptcy Court appointing such replacement Liquidating

 8    Trustee.

 9            4.      Resignation of the Liquidating Trustee.

10            The Liquidating Trustee may resign by giving not less than thirty (30) days’ prior written

11    notice thereof to the parties entitled to notice under Section V.I of the Plan. The resignation will

12    be effective on the later of: (a) the date specified in the notice; (b) the date that is thirty (30) days

13    after the date the notice is delivered; and (c) the date the successor Liquidating Trustee accepts his

14    or her appointment as such. In the event the original Liquidating Trustee resigns pursuant to the

15    Plan and Liquidating Trust Agreement, the Oversight Committee shall choose and appoint the

16    successor Liquidating Trustee. Any successor Liquidating Trustee appointed hereunder shall

17    execute an instrument accepting such appointment and shall deliver such acceptance to the

18    Bankruptcy Court. Thereupon, such successor Liquidating Trustee shall, without any further act,

19    become vested with all of the properties, rights, powers, trusts and duties of his or her predecessor

20    in the Liquidating Trust with like effect as if originally named herein; provided, however, that the

21    resigning Liquidating Trustee shall, nevertheless, when requested in writing by the successor

22    Liquidating Trustee, execute and deliver any reasonable instrument or instruments conveying and

23    transferring to such successor Liquidating Trustee all the estates, properties, rights, powers and

24    trusts of the removed or resigning Liquidating Trustee.

25    E.      Cooperation with Liquidating Trustee.

26            All Holders of Claims, Holders of Equity Interests and other parties-in-interest shall

27    cooperate with the Liquidating Trustee by executing any documents, and by taking any acts,

28    appropriate to implement the provisions of the Plan and the Liquidating Trust Agreement. The

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 1    Liquidating Trustee may withhold distributions to any Holder of Claims unless and until such

 2    Holder cooperates with the Liquidating Trustee by executing any documents, and by taking any

 3    acts, appropriate to implement the provisions of the Plan and the Liquidating Trust Agreement.

 4    F.     Funding of Post-Effective Date Plan Expenses.

 5           The Liquidating Trust shall be entitled to incur, and to be reimbursed for, Post-Effective

 6    Plan Expenses in performing its duties and obligations under the Plan and Liquidating Trust

 7    Agreement. All Post-Effective Date Plan Expenses shall be expenses of the Liquidating Trust.

 8    The Liquidating Trustee shall have no personal liability for any Post-Effective Date Plan

 9    Expenses. The Liquidating Trustee shall disburse funds from the Liquidating Trust Assets for the

10    purpose of funding the Post-Effective Date Plan Expenses.

11    G.     Estate Causes of Action.

12           The right to enforce, file, litigate, prosecute, settle, adjust, retain, enforce, collect and

13    abandon on behalf of the Debtors and the Estates any and all Estate Causes of Action, including,

14    but not limited to, any Avoidance Actions and any causes of action commenced by the Ittella

15    Committee, is deemed automatically transferred on the Effective Date from the Estates and the

16    Ittella Committee to the Liquidating Trustee.

17           As of the Effective Date, the Liquidating Trustee shall be authorized to exercise and to

18    perform the rights, powers and duties held by the Estates with respect to the Estate Causes of

19    Action, and, from and after the Effective Date, the Liquidating Trustee, shall have the sole and

20    exclusive right, to file, litigate, prosecute, settle, adjust, retain, enforce, collect and abandon

21    claims and interests of the Estates with respect to the Estate Causes of Action, without the consent

22    or approval of any third party, and without any further approval or order of the Bankruptcy Court.

23           The Liquidating Trustee shall make the decision, in the exercise of its business judgment,

24    whether to prosecute or to continue to prosecute any Estate Cause of Action. This decision shall

25    be based, in part, upon the Liquidating Trustee’s evaluation of the merits of the Estate Cause of

26    Action as well as the costs required to prosecute such Estate Cause of Action taking into account

27    the resources available to make Distributions to Creditors. The Liquidating Trustee, shall be

28    entitled to determine, in the exercise of its business judgment, not to prosecute, or to abandon, any

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 1    Estate Cause of Action. The Liquidating Trustee, shall be entitled to determine, in the exercise of

 2    its business judgment, to sell, transfer, finance or otherwise obtain consideration in respect of any

 3    Estate Cause of Action, without need for approval of the Bankruptcy Court, provided, however,

 4    that the Liquidating Trustee may obtain approval of the Bankruptcy Court if it deems appropriate.

 5           The Liquidating Trustee may retain professionals to represent it in prosecuting Estate

 6    Causes of Action, including professionals who were employed by the Debtors or either of the

 7    Committees in the Chapter 11 Cases. The Liquidating Trustee shall determine the terms of the

 8    retention of professionals, in the exercise of its business judgment, and shall be entitled to retain

 9    counsel on a contingency fee basis to prosecute some or all of the Estate Causes of Action.

10           Unless an Estate Cause of Action is expressly and specifically waived, relinquished,

11    released, compromised, or settled in the Plan or in any Final Order, such Estate Cause of Action is

12    expressly reserved for later adjudication in all respects, without limitation, by the Liquidating

13    Trustee (including, without limitation, any Estate Causes of Action of which the Debtors

14    presently may be unaware, or which may arise or exist by reason of facts or circumstances

15    unknown to the Debtors at this time, or facts or circumstances which may change or be different

16    from those which the Debtors now believes to exist) and, therefore, no preclusion doctrine,

17    including, without limitation, the doctrines of res judicata, collateral estoppel, issue preclusion,

18    claim preclusion, waiver, estoppel (judicial, equitable, or otherwise), or laches shall apply to the

19    Liquidating Trustee’s prosecution of Estate Causes of Action based on the Disclosure Statement,

20    the Plan, or the Confirmation Order. Without limiting the generality of the foregoing, any Person

21    with respect to which the Debtors have incurred an obligation (whether on account of services,

22    purchase or sale of property, or otherwise), or who has received services from the Debtors or a

23    transfer of money or property of the Debtor, or who has transacted business with the Debtors,

24    should assume that such obligation, transfer, or transaction may be evaluated by the Liquidating

25    Trustee subsequent to the Effective Date and may be the subject of an Avoidance Action or other

26    action or proceeding filed after the Effective Date.

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 1           THE     DEBTORS         HAVE      NOT     COMPLETED          THEIR       INVESTIGATION

 2    REGARDING         THE       EXISTENCE       OF    ESTATE       CAUSES      OF     ACTION.      THE

 3    INVESTIGATION IN THIS REGARD IS ONGOING. AS A RESULT, ALL PARTIES-IN-

 4    INTEREST ARE HEREBY ADVISED THAT, NOTWITHSTANDING THE FACT THAT

 5    THE EXISTENCE OF ANY PARTICULAR ESTATE CAUSE OF ACTION MAY NOT

 6    BE LISTED, DISCLOSED OR SET FORTH IN THE PLAN, AN ESTATE CAUSE OF

 7    ACTION MAY BE FILED AGAINST ANY CREDITOR OR OTHER PARTY, EXCEPT

 8    FOR ANY RELEASED OR EXCULPATED PARTY, AS THE LIQUIDATING TRUSTEE

 9    MAY DETERMINE,              IN THE EXERCISE OF ITS SOLE AND ABSOLUTE

10    DISCRETION.

11           1.      Prosecution of Estate Causes of Action by Liquidating Trustee.

12           Pursuant to the Confirmation Order, on the Effective Date, the Debtors irrevocably assign,

13    transfer and convey to the Liquidating Trustee the right to manage and control all property of the

14    Estates, including, but not limited to, all Estate Causes of Action. Subject to the provisions of the

15    Plan and the Liquidating Trust Agreement, the Liquidating Trustee shall have the sole power and

16    authority to prosecute, compromise or otherwise resolve after the Effective Date any and all such

17    Estate Causes of Action, with all recoveries derived therefrom to be included within the

18    Liquidating Trust Assets.

19           2.      Existing and Potential Estate Causes of Action.

20           Due to the size, nature and scope of the Debtors’ business operations and the multitude of

21    business transactions therein, there may be Estate Causes of Actions that currently exist, or may

22    subsequently arise, in addition to the matters identified herein. The Debtors are not, and it should

23    not be assumed that, because any existing or potential Estate Causes of Action have not yet been

24    pursued or have not yet been identified by the Debtors, any such Estate Causes of Action have

25    been waived. Under the Plan, the Liquidating Trust retains all rights to pursue any and all Estate

26    Causes of Action to the extent the Liquidating Trustee deems appropriate (under any theory of

27    law or equity, including, without limitation, the Bankruptcy Code and any applicable local, state,

28    or federal law, in any court or other tribunal, including, without limitation, in an adversary

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 1    proceeding filed in the Chapter 11 Case). Existing or potential Estate Causes of Action that may

 2    be pursued by the Liquidating Trustee after the Effective Date, include, without limitation, (i) any

 3    and all Estate Causes of Action pursuant to any applicable section of the Bankruptcy Code,

 4    including, but not limited to, (a) any claims of the Debtors arising under Section 362; (b) turnover

 5    claims arising under Sections 542 or 543; and (c) any Avoidance Actions; (ii) objections to

 6    Claims; (iii) claims that the Estate is entitled to set off or recoup against parties with Claims

 7    against the Estates; and (iv) any action for equitable subordination of any Claim against the

 8    Estates pursuant to Section 510.

 9           Moreover, the Liquidating Trustee may pursue existing or potential Estate Causes of

10    Action related to any other litigation or Estate Causes of Action, whether legal, equitable, or

11    statutory in nature, arising out of, or in connection with, the Debtors’ business, assets, or

12    operations, or otherwise affecting the Debtors, including without limitation, possible claims

13    against the following types of parties for the following types of claims: (a) possible claims against

14    vendors, customers, or suppliers for warranty, indemnity, charge back/set-off issues, overpayment

15    or duplicate payment issues, unpaid PACA claims, and collections/accounts receivable matters;

16    (b) possible claims against persons or parties for wrongful or improper termination of services or

17    goods to the Debtors; (c) failure of any persons or parties to fully perform under contracts with

18    the Debtors before the assumption or rejection of such contracts; (d) possible claims for deposits

19    or other amounts owed by any creditor, lessor, supplier, vendor, factor, or other person; (e)

20    actions against insurance carriers relating to coverage, indemnity, or other matters; (f)

21    counterclaims and defenses relating to Claims against the Debtor; (g) possible claims against

22    local, state, and federal taxing authorities (including, without limitation, any claims for refunds of

23    overpayments, challenges to audits, assessments, penalties, interest or any other obligations

24    imposed by governmental agencies); (h) except as otherwise previously released or settled,

25    possible claims against secured creditors, including, without limitation, claims relating to the

26    inclusion of improper charges, fees, interest, penalties in any alleged Secured Claim and the

27    nature, extent, priority and validity of any lien; and (j) contract, tort, or equitable claims that may

28    exist or subsequently arise.

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 1           THE LIQUIDATING TRUSTEE WILL DECIDE WHETHER TO PURSUE

 2    ESTATE CAUSES OF ACTION. THE LIQUIDATING TRUSTEE MAY SEEK TO

 3    RETAIN COUNSEL ON AN HOURLY OR CONTINGENCY BASIS TO PROSECUTE

 4    SOME OR ALL OF SUCH ESTATE CAUSES OF ACTION OR MAY DECIDE NOT TO

 5    PURSUE THEM AT ALL. THE LIQUIDATING TRUSTEE, ITS EMPLOYEES,

 6    CONTRACTORS, OFFICERS, DIRECTORS, SUCCESSORS, AND ASSIGNS SHALL

 7    NOT HAVE ANY LIABILITY ARISING OUT OF THE LIQUIDATING TRUSTEE’S

 8    GOOD      FAITH       DETERMINATION          OF      WHETHER       OR     NOT     TO    PURSUE

 9    PROSECUTION OF ANY CAUSE OF ACTION.

10    H.     Post-Effective Date Professional Fees.

11           The Liquidating Trustee may employ, without any need to give notice to Holders of

12    Claims or other parties-in-interest or obtain any approval of the Bankruptcy Court, any

13    professional to aid the Liquidating Trustee in performing the Liquidating Trustee’s duties under

14    the Plan or the Liquidating Trust Agreement, as the Liquidating Trust deems appropriate in the

15    exercise of its sole and absolute discretion, including professionals who were employed by the

16    Debtors or the Committees in the Chapter 11 Cases.           Any professional employed by the

17    Liquidating Trustee after the Effective Date shall be entitled to obtain from the Liquidating

18    Trustee payment of the professional’s fees and costs as a Post-Effective Date Plan Expense, in the

19    ordinary course, without any need to give notice to Holders of Claims or other parties-in-interest

20    or to obtain any approval or order of the Bankruptcy Court. Notwithstanding the foregoing, if the

21    Liquidating Trustee should fail to pay any post-Effective Date fees and costs of a professional

22    entitled to such payment, within thirty (30) days after the professional’s rendering of its billing

23    statement, the professional shall be entitled to seek, by application filed in accordance with the

24    Bankruptcy Rules, an order of the Bankruptcy Court requiring the Liquidating Trustee to pay to

25    the Professional its fees and costs.

26    I.     Approval for Disposition of Assets.

27           From and after the Effective Date, the Liquidating Trustee shall be entitled to sell,

28    transfer, assign, encumber or otherwise dispose of any interest in any of the Liquidating Trust

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 1    Assets, without any need to give notice to Holders of Claims or parties-in-interest or to obtain any

 2    approval or order of the Bankruptcy Court for the disposition of any Asset for an amount equal to

 3    or less than $50,000.00, regardless of estimated value.        Notwithstanding the foregoing, the

 4    Liquidating Trustee shall be entitled to seek, from the Bankruptcy Court, an order authorizing the

 5    sale of any Liquidating Trust Asset free and clear of liens pursuant to the provisions of Section

 6    363(f).

 7    J.        Compromise of Controversies / Bankruptcy Court Approval.

 8              From and after the Effective Date, the Liquidating Trustee shall be entitled to compromise

 9    any objections to a Disputed Claim, or any controversies relating to Estate Causes of Action or

10    other litigation pending after the Confirmation Date, without any need to give notice to creditors

11    or parties-in-interest or to obtain any approval or order of the Bankruptcy Court for the settlement

12    of any (a) Disputed Claim in a settlement amount equal to or less than $500,000.00 or (b) or

13    Estate Causes of Action in a settlement amount equal to or less than $50,000.00,, regardless of

14    demand or estimated claim value. Nothing contained in the Plan shall be deemed to impair in any

15    manner the right of the Liquidating Trustee to seek at any time after the Effective Date orders of

16    the Bankruptcy Court approving actions to be taken, or granting relief, consistent with the Plan as

17    may be necessary or desirable to effectuate the provisions of the Plan.

18    K.        Resolution of Disputes.

19              In the event that a dispute should arise between the Liquidating Trustee and any party-in-

20    interest in the Chapter 11 Cases regarding any matters pertaining to the Plan, the Liquidating

21    Trust Agreement or pertaining to the Liquidating Trustee’s performance of its duties and exercise

22    of its rights, powers and remedies under the Plan, either of them may request, pursuant to the

23    provisions of the Bankruptcy Rules, that the Bankruptcy Court resolve the merits of such dispute.

24    L.        Liquidating Trustee Certification / Final Decree.

25              On or before the date upon which the Liquidating Trustee determines, in the exercise of its

26    sole and absolute discretion, that all Estate Causes of Action and objections to Disputed Claims

27    have been resolved by Final Order, that all other Liquidating Trust Assets have been liquidated or

28    otherwise disposed of, and that all Distributions required to be made under the Plan have been

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 1    made or that final Distributions are being made or will be made within fourteen (14) days or as

 2    soon thereafter as is practicable by the Liquidating Trustee, the Liquidating Trustee shall file with

 3    the Bankruptcy Court and serve upon the Office of the United States Trustee and any other Post-

 4    Effective Date Notice Party a certification attesting to such determination (“Liquidating Trustee

 5    Certification”).

 6           Unless earlier filed by the Liquidating Trustee, by the sixtieth (60th) day after the filing of

 7    the Liquidating Trustee Certification, the Liquidating Trustee shall file, in accordance with FRBP

 8    3022, an application with the Bankruptcy Court to obtain a final decree to close the Case.

 9    M.     Other Rights, Powers and Duties of Liquidating Trustee.

10           In addition to the rights, powers and duties granted expressly to the Liquidating Trustee

11    pursuant to the Plan, the Liquidating Trustee shall have such other rights, powers and duties that

12    are appropriate to implement and to carry out the provisions of the Plan for the benefit of Holders

13    of Claims that are not inconsistent with the provisions of the Plan.

14    N.     Distributions Under the Plan.

15           1.      In General.

16           Except as otherwise provided herein, or as may be ordered by the Bankruptcy Court,

17    Distributions to be made on account of Allowed Claims, General Unsecured Claims, shall be

18    made on or soon as reasonably practicable after the Effective Date. The date(s) for Distributions

19    to be made on account of Allowed General Unsecured Claims shall be selected by the Liquidating

20    Trustee in accordance with the Liquidating Trust Agreement, provided, however, that the date(s)

21    selected shall be made as soon as reasonably practicable after the Effective Date, subject to the

22    terms of the Liquidating Trust Agreement.

23           2.      Manner of Payment Under the Plan.

24           Any payment of Cash made by the Liquidating Trustee pursuant to the Plan may be made

25    either by check drawn on a domestic bank or by wire transfer from a domestic bank, at the option

26    of the Liquidating Trustee.

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 1            3.     Manner of Distribution of Other Property.

 2            Any Distribution under the Plan of property other than Cash, if any, shall be made by the

 3    Liquidating Trustee (or its agent) in accordance with the terms of the Plan.

 4            4.     Set-Offs.

 5            The Liquidating Trustee may set off against any Claim and the payments to be made

 6    pursuant to the Plan in respect of such Claim, any claims of any nature whatsoever that the

 7    Debtor, Estate or the Liquidating Trust may have against the Holder of such Claim; provided that

 8    neither the failure to effect such set-off nor the allowance of any Claim that otherwise would be

 9    subject to setoff, shall constitute a waiver or release by the Debtor, Estate or Liquidating Trust of

10    any such claim that the Debtor, Estate or Liquidating Trust may have against such Holder.

11            5.     Distribution of Unclaimed Property.

12            Except as otherwise provided in the Plan, any Distribution of property (Cash or otherwise)

13    under the Plan which is unclaimed after the later of (i) one hundred eighty (180) days following

14    the Effective Date or (ii) ninety (90) days after such Distribution has been remitted to the Holder

15    of the Allowed Claim, shall be deemed Available Cash and distributed as provided for under the

16    Plan.

17            6.     De Minimis Distributions.

18            No cash payment of less than fifty dollars ($50.00) shall be made by the Liquidating

19    Trustee to any Holder of a Claim, unless a request therefor is made in writing to the Liquidating

20    Trustee.

21            7.     Saturday, Sunday or Legal Holiday.

22            If any payment or act under the Plan is required to be made or performed on a date that is

23    not a Business Day, then the making of such payment or the performance of such act may be

24    completed on the next succeeding Business Day, but shall be deemed to have been completed as

25    of the required date.

26            8.     Delivery of Distributions / Address of Holder.

27            For purposes of all notices and Distributions under the Plan, the Liquidating Trustee shall

28    be entitled to rely on, and Distributions to Holders of Allowed Claims may be made by regular

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 1    U.S. first class mail to, the following name and address for the Holder of each such Claim: (a) the

 2    address set forth in the proof of Claim Filed by such Holder; or (b) the address set forth in any

 3    written notice of address change delivered by the Holder to the Debtors or the Liquidating Trustee

 4    after the date on which any related proof of Claim was Filed. The Liquidating Trustee shall be

 5    under no duty to attempt to locate Holders of Allowed Claims who are entitled to unclaimed

 6    Distributions.

 7           9.        Creditors’ Payment Obligations / Turnover of Property to Liquidating Trustee.

 8           As a condition to obtaining Distributions under the Plan, any Holder of a Claim from

 9    which property is recoverable pursuant to a Final Order of the Bankruptcy Court under Sections

10    542, 543, 550 or 553, or otherwise, or that is a transferee of a transfer avoidable pursuant to a

11    Final Order of the Bankruptcy Court under Sections 522, 542, 544, 545, 547, 548 or 549, or

12    otherwise, shall pay to the Liquidating Trustee the amount, or turn over to the Liquidating Trustee

13    any such property, for which such Holder of a Claim is liable to the Debtors.

14                                 IV.   RELEASES AND EXCULPATION
15    A.     Releases by the Debtors.

16           In consideration for services rendered to the Estates and for the consideration as more

17    fully set forth herein, to the greatest extent permissible by law, and except as otherwise

18    specifically provided in this Plan, as of the Effective Date, the Debtors shall be deemed to have

19    conclusively, absolutely, unconditionally, irrevocably and forever released and discharged each

20    of the Released Parties of and from any and all past, present and future legal actions, causes of

21    action, choses in action, rights, demands, suits, claims, liabilities, encumbrances, lawsuits,

22    adverse consequences, amounts paid in settlement, costs, fees, damages, debts, deficiencies,

23    diminution in value, disbursements, expenses, losses and other obligations of any kind,

24    character or nature whatsoever, whether in law, equity or otherwise (including, without

25    limitation, those arising under Chapter 5 of the Bankruptcy Code and applicable non-

26    bankruptcy law, and any and all alter-ego, lender liability, indemnification or contribution

27    theories of recovery, and interest or other costs, penalties, legal, accounting and other

28    professional fees and expenses, and incidental, consequential and punitive damages payable to

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 1    third parties), whether known or unknown, fixed or contingent, direct, indirect, or derivative,

 2    asserted or unasserted, foreseen or unforeseen, suspected or unsuspected, now existing,

 3    heretofore existing or which may heretofore accrue against the Debtors or the Released Parties

 4    (in each case, solely in their capacities as such) occurring from the beginning of time to and

 5    including the Effective Date related in any way directly or indirectly, arising out of, and/or

 6    connected with any or all of the Debtors or the Estates; provided, however, that

 7    notwithstanding the foregoing or any other provision of this Plan, nothing in this Plan, or any

 8    order confirming this Plan shall affect any causes of action, claims, or counterclaims that may

 9    be asserted in connection with an objection to a Claim that has not been Allowed, in each case

10    as determined by a court of competent jurisdiction. Notwithstanding anything to the contrary in

11    this Plan, this Article does not release any post-Effective Date obligations of any party under

12    this Plan or any document, instrument, or agreement executed to implement this Plan.

13    Furthermore, nothing in this Plan shall affect the liability of any Claims held by any third

14    party against any of the Released Parties.

15    B.     Exculpation.

16           None of the Exculpated Parties shall have or incur any liability for any act or omission

17    in connection with, related to, or arising out of, the Chapter 11 Cases, the formulation,

18    preparation, dissemination, implementation, confirmation, or approval of this Plan, the

19    administration of this Plan, or any contract, instrument, release, or other agreement or

20    document provided for or contemplated in connection with the consummation of the

21    transactions set forth in this Plan, provided, however, that the foregoing provisions shall not

22    affect the liability of any Person that would result solely from any such act or omission to the

23    extent that act or omission is determined by a Final Order of the Court to have constituted

24    willful misconduct or gross negligence or breach of fiduciary duty; provided further, however,

25    that this provision shall not limit the Debtors’ obligations under this Plan; provided further,

26    however, that notwithstanding the foregoing or any other provision of this Plan, nothing in this

27    Plan, or any order confirming this Plan shall affect any causes of action, claims, or

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 1    counterclaims that may be asserted in connection with an objection to a Claim that has not

 2    been Allowed, in each case as determined by a court of competent jurisdiction.

 3    C.     No Liability for Solicitation or Participation.

 4           As specified in Section 1125(e), Persons that solicit acceptances or rejections of this Plan,

 5    in good faith and in compliance with the applicable provisions of the Bankruptcy Code, shall not

 6    be liable, on account of such solicitation or participation, for violation of any applicable law, rule,

 7    or regulation governing the solicitation of acceptances or rejections of this Plan or the offer,

 8    issuance, sale, or purchase of securities.

 9    D.     Good Faith.

10           Confirmation of this Plan shall constitute a finding that the Plan was proposed, and that

11    acceptances of the Plan were solicited, in good faith and in compliance with applicable provisions

12    of the Bankruptcy Code.

13                                 V.    MISCELLANEOUS PROVISIONS
14    A.     Executory Contracts and Unexpired Leases.

15           1.      Assumptions / Rejections.

16           On the Effective Date, any and all agreements executed by the Debtors before the

17    Effective Date, other than agreements that were previously either assumed and assigned or

18    rejected either by a Final Order or under Bankruptcy Code Section 365, to the extent that these

19    agreements constitute executory contracts or unexpired leases under Section 365, shall be

20    rejected. The Confirmation Order shall constitute a Final Order approving this rejection. All

21    Allowed Rejection Damage Claims shall be treated as General Unsecured Claims against the

22    appropriate subject Debtor under the Plan.

23           2.      Bar Date for Rejection Damages.

24           Any Rejection Damage Claims arising from rejection under the Plan of an executory

25    contract or unexpired lease must be filed with the Bankruptcy Court and served on the

26    Liquidating Trustee and its counsel within thirty (30) days after the Effective Date.             Any

27    Rejection Damage Claims that are not timely filed and served will be forever barred and

28    unenforceable against the Debtors, the Estates, the Liquidating Trust, the Liquidating Trustee, and

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 1    their property, and the entities holding these Claims will be barred from receiving any

 2    Distributions under the Plan on account of their Rejection Damage Claims. The Liquidating

 3    Trustee shall have the right to object to any such Rejection Damage Claims; provided, however,

 4    that any such objections must be served and filed not later than one hundred eighty (180) days

 5    after the Effective Date.

 6           3.      Insurance Policies.

 7           For the avoidance of doubt, all of the Debtors’ rights with respect to all insurance policies

 8    under which the Debtors may be a beneficiary (including all insurance policies that may have

 9    expired prior to the Petition Date, all insurance policies in existence on the Petition Date, all

10    insurance policies entered into by the Debtors after the Petition Date, and all insurance policies

11    under which the Debtors hold rights to make, amend, prosecute and benefit from claims) are

12    retained according to their respective terms and will be transferred or assigned to the Liquidating

13    Trust pursuant to the Plan. Furthermore, all of the Debtors’ rights with respect to insurance

14    policies owed by the Debtors in which a third party is a beneficiary (including all insurance

15    policies related to the liability of directors and officers) are retained according to their respective

16    terms and will be transferred or assigned to the Liquidating Trust pursuant to the Plan, so long as

17    such transfer and assignment does not impair such policies, with the Liquidating Trustee having

18    authority to settle any such claims.

19    B.     Preservation of Rights of Action.

20           Except to the extent any rights, claims, defenses, and counterclaims are expressly and

21    specifically released in connection with this Plan or in any settlement agreement approved during

22    the Chapter 11 Cases: (1) any and all Estate Causes of Action accruing to the Debtors’ Estates

23    shall vest in the Liquidating Trust on the Effective Date, whether or not litigation relating thereto

24    is pending on the Effective Date, and whether or not any such Estate Causes of Action have been

25    listed or referred to in this Plan, the Disclosure Statement, or any other document filed with the

26    Bankruptcy Court and (2) the Debtors’ Estates do not waive, release, relinquish, forfeit, or

27    abandon (and it shall not be estopped or otherwise precluded or impaired from asserting) any

28    Estate Cause of Action that constitutes property of the Debtors’ Estates: (a) whether or not such

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 1    Estate Cause of Action has been listed or referred to in this Plan, the Disclosure Statement, or any

 2    other document filed with the Bankruptcy Court, (b) whether or not such Estate Cause of Action

 3    is currently known to the Debtors or the Liquidating Trustee, and (c) whether or not a defendant

 4    in any litigation relating to such Estate Cause of Action filed a proof of claim in the Chapter 11

 5    Cases, filed a notice of appearance or any other pleading or notice in the Chapter 11 Cases, voted

 6    for or against this Plan, or received or retained any consideration under this Plan.

 7    C.     Exemption from Stamp, Transfer and Other Taxes.

 8           Pursuant to Section 1146(c), the issuance, transfer, or exchange of assets under the Plan by

 9    the Debtors, the creation of any mortgage, deed of trust, or other security interest, the making or

10    assignment of any lease or sublease, or the making or delivery

11    of any deed or instrument of transfer under, in furtherance of, or in connection with the Plan, will

12    not be subject to any stamp, real estate transfer, mortgage recording, or other similar tax.

13    D.     Headings.

14           Headings are used in the Plan for convenience and reference only, and shall not constitute

15    a part of the Plan for any other purpose.

16    E.     Binding Effect.

17           The Plan shall be binding upon and inure to the benefit of the Debtors’ Estates, Holders of

18    Claims, Holders of Equity Interests, and their respective successors or assign.

19    F.     Governing Law.

20           Unless a rule of law or procedure is supplied by (1) federal law (including the Bankruptcy

21    Code and Bankruptcy Rules), or (2) an express choice of law provision in any agreement,

22    contract, instrument or document provided for, or executed in connection with, this Plan, the

23    rights and obligations arising under the Plan and any agreements, contracts, documents and

24    instruments executed in connection with this Plan shall be governed by, and construed and

25    enforced in accordance with, the laws of the State of California without giving effect to the

26    principles of conflict of laws thereof.

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 1    G.     Withholding, Reporting, and Payment of Taxes.

 2           In connection with the Plan and all instruments issued in connection therewith and

 3    Distributions thereon, the Liquidating Trustee shall comply with all withholding and reporting

 4    requirements imposed by any federal, state, local, or foreign taxing authority and all Distributions

 5    hereunder shall be subject to any such withholding and reporting requirements. The Liquidating

 6    Trustee shall report and pay taxes on the income of the Liquidating Trust Assets, if any, as

 7    required by applicable law. In addition, to the extent required by applicable law, reported

 8    Distributions from such reserves shall include all interest and investment income, if any,

 9    attributable to the Cash or property being distributed net of taxes which are, or are estimated to

10    be, due and payable thereon. For the avoidance of doubt, the Liquidating Trustee shall file with

11    the IRS and other taxing authorities all outstanding and final returns for the Debtors.

12    H.     Other Documents and Actions.

13           The Debtors on and prior to the Effective Date and the Liquidating Trustee after the

14    Effective Date may execute such other documents and take such other actions as may be

15    necessary or appropriate to effectuate the transactions contemplated under this Plan.

16    I.     Notices.

17           Any notice to the Debtors or Liquidating Trustee required or permitted to be provided

18    under the Plan shall be in writing and served by either (1) certified mail, return receipt requested,

19    postage prepaid, (2) hand delivery, or (3) reputable overnight delivery service, freight prepaid, to

20    be addressed as follows:

21           DEBTORS:
22           Ittella International, LLC et al.
             Edward Bidanset, CRO
23           39W372 W Curtis Sq.
             Geneva, IL 60134
24
             with a copy to:
25

26           Levene, Neale, Bender, Yoo & Golubchik L.L.P.
             David L. Neale
27           Todd M. Arnold
             Robert M. Carrasco
28           2818 La Cienega Avenue

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 1              Los Angeles, CA 90034
                Facsimile: (310) 229-1244
 2              Email: DLN@LNBYG.COM; TMA@LNBYG.COM; RMC@LNBYG.COM
 3
                Bankruptcy Counsel to the Debtors
 4
      - and -
 5              LIQUIDATING TRUSTEE:
                [TBD]
 6

 7
      J.        Severability of Plan Provisions.
 8
                If, prior to Confirmation, any term or provision of the Plan is found by the Bankruptcy
 9
      Court to be invalid, void or unenforceable, the Bankruptcy Court shall have the power to alter and
10
      interpret such term or provision to make it valid or enforceable to the maximum extent
11
      practicable, consistent with the original purpose of the term or provision held to be invalid, void
12
      or unenforceable, and such term or provision shall then be applicable as altered or interpreted.
13
      Notwithstanding any such holding, alteration or interpretation, the remainder of the terms and
14
      provisions of the Plan shall remain in full force and effect and shall in no way be affected,
15
      impaired or invalidated by such holding, alteration or interpretation. The Confirmation Order
16
      shall constitute a judicial determination and shall provide that each term and provision of the
17
      Plan, as it may have been altered or interpreted in accordance with the foregoing, is valid and
18
      enforceable pursuant to its terms.
19
      K.        Successors and Assigns.
20
                The rights, benefits, and obligations of any entity named or referred to in the Plan shall be
21
      binding on, and shall inure to the benefit of, the heirs, executors, administrators, successors, and
22
      assigns of such entity.
23
      L.        Books and Records.
24
                Upon the Case Closing Date, the Liquidating Trustee shall be authorized, in the exercise
25
      of its sole and absolute discretion, to discard or destroy any and all pre-Effective Date books and
26
      records of the Debtors in the Liquidating Trustee’s custody or control. The Liquidating Trustee
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 1    shall continue to preserve post-Effective Date books and records in its custody or control through

 2    the Case Closing Date, or as otherwise provided by order of the Bankruptcy Court.

 3    M.      Effectiveness of Court Orders.

 4            All orders and judgments, including injunctions, entered by the Bankruptcy Court during

 5    the Chapter 11 Cases, and in existence on the Confirmation Date, shall remain in full force and

 6    effect from and after the Effective Date, to the extent not inconsistent with the provisions of this

 7    Plan or the Confirmation Order.

 8    N.      No Waiver.

 9    Neither the failure to list a Claim in the Schedules filed by the Debtors, the failure to object to any

10    Claim for purposes of voting, the failure to object to a Claim or Administrative Claim prior to the

11    Effective Date, the failure to assert an Estate Cause of Action prior to the Effective Date, nor any

12    action or inaction with respect to a Claim, Administrative Claim, or Estate Cause of Action, other

13    than a legally effective express waiver or release, shall be deemed to be a waiver or release of the

14    right of the Liquidating Trustee to object to or examine such Claim or Administrative Claim, in

15    whole or in part, or retain and assert, pursue, prosecute, litigate, or otherwise enforce any Estate

16    Cause of Action.

17    O.      Other Documents and Actions.

18            The Debtors and the Liquidating Trustee may execute such other documents and take such

19    other actions as may be necessary or appropriate to effectuate the transactions contemplated under

20    this Plan.

21    P.      Inconsistencies.

22    In the event that any provisions of this Plan are inconsistent with the provisions of the Disclosure

23    Statement, the provisions of this Plan shall control.

24    Q.      Implementation of Section 1142 of the Bankruptcy Code.

25            Pursuant to Section 1142(a), the Debtor and the Liquidating Trustee are authorized to

26    carry out the terms of this Plan. Pursuant to Section 1142(b), all Holders of Claims and Holders

27    of Equity Interests shall execute and deliver, or join in the execution and delivery of, any

28    instrument or document appropriate to effectuate this Plan, and perform any other act that is

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 1    appropriate for the consummation of this Plan. To the extent that any Holder of a Claim or

 2    Holder of an Equity Interest fails to comply with these provisions, the Debtor and the Liquidating

 3    Trustee shall be entitled to obtain, on an expedited basis, an order of the Bankruptcy Court

 4    compelling such Holder’s compliance with these provisions, and, during the time period

 5    encompassed by such Holder’s non-compliance, no payment shall be made to such Holder under

 6    this Plan.

 7    R.      Retention of Jurisdiction.

 8            The Plan shall not in any way limit the Bankruptcy Court’s post-confirmation jurisdiction

 9    as provided under the Bankruptcy Code. The Bankruptcy Court will retain and have exclusive

10    jurisdiction to the fullest extent permissible over any proceeding (i) arising under the Bankruptcy

11    Code or (ii) arising in or related to the Chapter 11 Cases or the Plan, including but not limited to

12    the following:

13                     1.    To hear and determine pending motions for the assumption, assumption

14            and assignment, or rejection of executory contracts or unexpired leases, if any are pending

15            as of the Effective Date, the determination of any cure payments related thereto, and the

16            allowance or disallowance of Claims resulting therefrom;

17                     2.    To determine any and all adversary proceedings, applications, motions, and

18            contested matters instituted prior to the closing of the Chapter 11 Cases;

19                     3.    To ensure that Distributions to Holders of Allowed Claims are

20            accomplished as provided in the Plan;

21                     4.    To hear and determine any objections to Administrative Claims and to

22            proofs of Claims filed both before and after the Effective Date (including, without

23            limitation, whether all or any part of any Claim set forth in any such proof of Claim or

24            Administrative Claim is subject to partial or complete subordination pursuant to applicable

25            law), and to allow or disallow any Disputed Claim in whole or in part, provided, however,

26            that, for the avoidance of doubt, the Liquidating Trustee may settle or compromise

27            (including by set-off) any Disputed Claim without further Order of the Court;

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 1                5.      To   hear   and    determine   all   applications   for   compensation    and

 2         reimbursement of expenses of Professional Persons under Sections 330, 331, and 503(b);

 3                6.      To hear and determine any disputes arising in connection with the

 4         interpretation, implementation, execution, or enforcement of the Plan, the Liquidating

 5         Trust Agreement, the Confirmation Order, or any other order of the Bankruptcy Court;

 6                7.      To hear or determine any action to recover assets of the Estate, wherever

 7         located;

 8                8.      To hear and determine any actions or matters related to Estate Causes of

 9         Action, whether or not such actions or matters are pending on the Effective Date;

10                9.      To hear and determine any matters concerning state, local, and federal

11         taxes in accordance with Sections 346, 505, and 1146;

12                10.     To hear and determine any objections to the allowance of Claims or

13         Administrative Claims, whether filed before or after the Confirmation Date, including any

14         objections to the classification of any Claim, and any proceedings to allow, disallow,

15         determine, liquidate, estimate, or establish the priority or the secured or unsecured status

16         of any Claim, or to establish reserves pending the resolution of Disputed Claims;

17                11.     To hear and determine any proceeding to modify the Plan, after

18         confirmation of the Plan, and, if in the best interests of Holders of Claims, modification of

19         the Plan even after the Plan has been substantially consummated;

20                12.     To consider the issuance of injunctions or other orders as may be necessary

21         or appropriate to aid in the implementation of the Plan or to restrain interference by any

22         entity with the consummation or the enforcement of the Plan;

23                13.     To hear any other matter not inconsistent with the Bankruptcy Code;

24                14.     To hear any other matter deemed relevant by the Bankruptcy Court; and

25                15.     To enter a final decree closing the Chapter 11 Cases.

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 1                                VI.    EFFECTIVENESS OF THE PLAN

 2    A.     Conditions Precedent.

 3           The Effective Date shall not occur until the following condition(s) (the “Conditions

 4    Precedent”) have been satisfied or waived:

 5                   1.      the Bankruptcy Court shall have entered an order granting approval of the

 6           Disclosure Statement and finding that it contains adequate information pursuant to

 7           section 1125 of the Bankruptcy Code and that order shall have become a Final Order;

 8                   2.      the Bankruptcy Court shall have entered a Confirmation Order that is in

 9           form and substance satisfactory to the Debtors and the Committees;

10                   3.      the Confirmation Order shall have become a Final Order;

11                   4.      the Ittella Committee shall have selected the Liquidating Trustee and the

12           Oversight Committee; and

13                   5.      no stay of the Confirmation Order is in effect.

14    B.     The Effective Date.

15           The Plan will not be consummated or become binding unless and until the Effective Date

16    occurs. The Effective Date will be the first day on which all Conditions Precedent have been

17    satisfied or waived. In no event shall the Effective Date occur later than the thirtieth (30th) day

18    following the entry of the Confirmation Order. If all Conditions Precedent have not been

19    satisfied prior to the thirtieth (30th) day following the entry of the Confirmation Order, on the

20    thirtieth (30th) day following the entry of the Confirmation Order, all Conditions Precedent shall

21    be deemed immediately waived. Any action to be taken on the Effective Date may be taken on

22    or as soon as reasonably practicable after the Effective Date.

23    C.     Confirmation Request.

24           In the event that all of the applicable requirements of Section 1129(a) are met other than

25    Section 1129(a)(8), the Debtors request confirmation of the Plan under Section 1129(b). The

26    Debtors will provide further support for Confirmation of the Plan under the “cram down”

27    provisions of Section 1129(b) in its brief to be filed in support of the Plan.

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 1    D.        Notice of the Effective Date.

 2              As soon as practicable after the Effective Date has occurred, the Liquidating Trustee shall file

 3    with the Bankruptcy Court an informational notice specifying the Effective Date, as a matter of

 4    record.

 5                                    VII.    EFFECT OF CONFIRMATION
 6    A.        Discharge.

 7              1.     Injunction Enjoining Holders of Claims Against Debtors.

 8              The Plan is the sole means for resolving, paying or otherwise dealing with Claims and

 9    Equity Interests. To that end, except as expressly provided in the Plan, at all times on and after

10    the Effective Date, all Persons will be permanently enjoined from taking any of the following

11    actions against the Debtors, the Estates, the Liquidating Trust or its property (other than actions

12    brought to enforce any rights or obligations under the Plan):

13                     a.      commencing, conducting or continuing in any manner, directly or

14              indirectly any suit, action, or other proceeding of any kind against the Debtors and/or

15              Estates, the Liquidating Trust, or the Liquidating Trustee, their successors, or their

16              respective property or assets (including, without limitation, all suits, actions, and

17              proceedings that are pending as of the Effective Date which will be deemed to be

18              withdrawn or dismissed with prejudice);

19                     b.      enforcing, levying, attaching, executing, collecting, or otherwise

20              recovering by any manner or means whether directly or indirectly any judgment, award,

21              decree, or order against the Debtors, the Estates, the Liquidating Trust, or the Liquidating

22              Trustee, their successors, or their respective property or assets;

23                     c.      creating, perfecting, or otherwise enforcing in any manner, directly or

24              indirectly, any lien, security interest or encumbrance against the Debtors, the Estates, the

25              Liquidating Trust, or the Liquidating Trustee, their successors, or their respective

26              property or assets;

27                     d.      proceeding in any manner in any place whatsoever against the Debtors, the

28              Estates, the Liquidating Trust, or the Liquidating Trustee, their successors, or their

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 1           respective property or assets that does not conform to or comply with the provisions of

 2           the Plan; and

 3                   e.      asserting any setoff, right of subrogation, surcharge, or recoupment of any

 4           kind against any obligation due the Debtors, the Liquidating Trust or their successors or

 5           assigns.

 6           2.      Non-discharge of the Debtors.

 7           In accordance with Section 1141(d)(3), the Confirmation Order will not discharge

 8    Claims. However, no Holder of a Claim may receive any payment from, or seek recourse

 9    against, any assets that are to be distributed under the Plan other than assets required to be

10    distributed to that Holder pursuant to the Plan. As of the Confirmation Date, all Persons are

11    enjoined from asserting against any property that is to be distributed under the Plan, any Claims,

12    rights, causes of action, liabilities, or Equity Interests based upon any act, omission, transaction,

13    or other activity that occurred before the Confirmation Date except as expressly provided in the

14    Plan or the Confirmation Order.

15    B.     Revesting of Property in the Liquidating Trust.

16           As set forth above, except as expressly provided under the Plan, on the Effective Date, the

17    Debtors’ Assets, including, without limitation, all Estate Causes of Action, will vest in the

18    Liquidating Trust free and clear of all claims, liens, encumbrances, charges and other interests,

19    subject to the provisions of the Plan. On and after the Effective Date, the transfer of the Debtors’

20    Assets from the Estates to the Liquidating Trust will be deemed final and irrevocable and

21    Distributions may be made from the Liquidating Trust.

22    C.     Withdrawal or Modification of Plan.

23           Prior to the Effective Date, the Plan may be withdrawn as to one or more of the Debtors or

24    may be altered, amended, or modified pursuant to Section 1127 by the Debtors. After the

25    Effective Date, the Liquidating Trustee shall have the sole authority and power to alter, amend, or

26    modify the Plan pursuant to Section 1127.

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 1    D.     Post-Confirmation Status Report.

 2           Within 180 days after the entry of the Confirmation Order, the Debtors or the Liquidating

 3    Trustee, as appropriate, shall file a status report with the Court explaining what progress has been

 4    made toward consummation of the confirmed Plan. The status report shall be served on the UST

 5    and those parties who have requested special notice. Further status reports shall be filed every

 6    365 days or as otherwise directed by the Bankruptcy Court and served on the same parties.

 7    E.     Quarterly Fees.

 8           All quarterly fees due and payable to the Office of the United States Trustee pursuant to

 9    section 1930(a)(6) of title 28 of the United States Code shall be duly paid in full on or before the

10    Effective Date, as required by Section 1129(a)(12). The Liquidating Trust shall be responsible

11    for timely payment of such quarterly fees due and payable after the Effective Date and until the

12    Chapter 11 Cases are closed, pursuant to section 1930(a)(6) of title 28 of the United States Code,

13    with respect to cash disbursements made by the Liquidating Trustee under the Plan. After the

14    Effective Date and until the Chapter 11 Cases are closed, the Liquidating Trustee shall file with

15    the Office of the United States Trustee monthly financial reports specifying all disbursements

16    made pursuant to the Plan and shall make all payments based upon such disbursements as

17    required by applicable law.

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 1    F.     Final Decree.

 2           Pursuant to FRBP 3022, a final decree may not be entered until a bankruptcy case is fully

 3    administered. The Bankruptcy Court may, however, allow a final decree to be entered at an

 4    earlier date for cause shown. Pursuant to LBR 3022-1, notice of a motion for a final decree must

 5    be served upon all parties upon whom the Plan was served.

 6    Dated: February 21, 2024                   ITTELLA INTERNATIONAL LLC,
 7                                               ITTELLA’S CHEF, LLC,
                                                 TATTOOED CHEF, INC.,
 8                                               MYJOJO, INC.,
                                                 NEW MEXICO FOOD DISTRIBUTORS, INC.,
 9                                               KARSTEN TORTILLA FACTORY, LLC, a New
                                                 BCI ACQUISITION, INC., and
10
                                                 TTCF-NM HOLDINGS INC.,
11

12
                                                 _________________________________
13                                               EDWARD BIDANSET,
                                                 Chief Restructuring Officer
14

15    PRESENTED BY

16    LEVENE, NEALE, BENDER YOO
        & GOLUBCHIK L.L.P.
17
      By:   /s/ David L. Neale
18
             DAVID L. NEALE
19           TODD M. ARNOLD
             ROBERT M. CARRASCO
20    Counsel for Chapter 11 Debtors and Debtors in Possession
21

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                                    PROOF OF SERVICE OF DOCUMENT
  1   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
      address is: 2818 La Cienega Avenue, Los Angeles, CA 90034
  2
      A true and correct copy of the foregoing document entitled DEBTORS’ FIRST AMENDED JOINT
  3   CHAPTER 11 LIQUIDATING PLAN DATED FEBRUARY 21, 2024 will be served or was served (a) on
      the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
  4   below:

  5   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
      controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
  6   hyperlink to the document. On February 21, 2024, I checked the CM/ECF docket for this bankruptcy
      case or adversary proceeding and determined that the following persons are on the Electronic Mail
  7   Notice List to receive NEF transmission at the email addresses stated below:

  8            Mark A Amendola mamendola@martynlawfirm.com
               Todd M Arnold tma@lnbyg.com
  9            Marshall J August maugust@frandzel.com, rsantamaria@frandzel.com
               Jessica L Bagdanov jbagdanov@bg.law, ecf@bg.law
 10            Tanya Behnam tbehnam@polsinelli.com,
                tanyabehnam@gmail.com;ccripe@polsinelli.com;ladocketing@polsinelli.com
 11            Michael Jay Berger michael.berger@bankruptcypower.com,
                yathida.nipha@bankruptcypower.com;michael.berger@ecf.inforuptcy.com
 12            Daren Brinkman firm@brinkmanlaw.com, 7764052420@filings.docketbird.com
               Robert Carrasco rmc@lnbyg.com, rmc@lnbyg.com
 13            Andrew Michael Cummings andrew.cummings@hklaw.com,
                philip.dobbs@hklaw.com;hapi@hklaw.com;reena.kaur@hklaw.com
 14            Abram Feuerstein abram.s.feuerstein@usdoj.gov
               John-Patrick M Fritz jpf@lnbyg.com, JPF.LNBYB@ecf.inforuptcy.com
 15            Bernard R Given bgiven@loeb.com,
                mortiz@loeb.com;ladocket@loeb.com;bgiven@ecf.courtdrive.com
 16            Michael J Gomez mgomez@frandzel.com, dmoore@frandzel.com
               Michael I. Gottfried mgottfried@elkinskalt.com,
 17             cavila@elkinskalt.com,lwageman@elkinskalt.com,docketing@elkinskalt.com
               Everett L Green everett.l.green@usdoj.gov
 18            David S Hagen davidhagenlaw@gmail.com
               D Edward Hays ehays@marshackhays.com,
 19             ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.co
                m;cmendoza@ecf.courtdrive.com
 20            Mark S Horoupian mark.horoupian@gmlaw.com,
                mhoroupian@ecf.courtdrive.com;cheryl.caldwell@gmlaw.com;karen.files@gmlaw.com
 21            Jacqueline L James jjames@hrhlaw.com
               K Kenneth Kotler kotler@kenkotler.com, linda@kenkotler.com
 22            Jeffrey C Krause jkrause@gibsondunn.com,
                dtrujillo@gibsondunn.com;jstern@gibsondunn.com
 23            Jeffrey A Krieger jkrieger@ggfirm.com,
                kwoodson@greenbergglusker.com;calendar@greenbergglusker.com;jking@greenberggl
 24             usker.com
               Aaron J Malo amalo@sheppardmullin.com,
 25             abilly@sheppardmullin.com;rgolder@sheppardmullin.com
               Ron Maroko ron.maroko@usdoj.gov
 26            Laila Masud lmasud@marshackhays.com,
                lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com
 27            Kyle J Mathews kmathews@sheppardmullin.com
               Daniel J McCarthy dmccarthy@hillfarrer.com,
 28             spadilla@hillfarrer.com;nchacon@hfbllp.com
               William McCormick Bill.McCormick@ag.tn.gov

       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
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               David W. Meadows david@davidwmeadowslaw.com
  1            Angela Z Miller amiller@phillipslytle.com, styrone@phillipslytle.com
               John A Moe john.moe@dentons.com,
  2             glenda.spratt@dentons.com;derry.kalve@dentons.com
               Tania M Moyron tania.moyron@dentons.com,
  3             rebecca.wicks@dentons.com;kathryn.howard@dentons.com;derry.kalve@dentons.com;g
                lenda.spratt@dentons.com;DOCKET.GENERAL.LIT.LOS@dentons.com
  4            Alan I Nahmias anahmias@mbn.law, jdale@mbn.law
               David L. Neale dln@lnbyg.com
  5            Matthew D. Resnik Matt@rhmfirm.com,
                roksana@rhmfirm.com;rosario@rhmfirm.com;sloan@rhmfirm.com;priscilla@rhmfirm.co
  6             m;rebeca@rhmfirm.com;david@rhmfirm.com;susie@rhmfirm.com;max@rhmfirm.com;rus
                s@rhmfirm.com
  7            Edward Rubacha er@jhkmlaw.com, docket@jhc.law;am@jhc.law
               Susan K Seflin sseflin@bg.law
  8            Paul R Shankman PShankman@fortislaw.com, info@fortislaw.com
               Amitkumar Sharma amit.sharma@aisinfo.com
  9            David Samuel Shevitz david@shevitzlawfirm.com,
                shevitzlawfirm@ecf.courtdrive.com;r48785@notify.bestcase.com;Jose@shevitzlawfirm.co
 10             m
               Ronald P Slates rslates2@rslateslaw.com,
 11             scannavan@rslateslaw.com;slatesecf@rslateslaw.com
               Lindsey L Smith lls@lnbyg.com, lls@ecf.inforuptcy.com
 12            Randy S Snyder rsnyder@rsslegal.com
               John M Stern bk-jstern@oag.texas.gov, bk-mbecker@oag.texas.gov
 13            Alan G Tippie Alan.Tippie@gmlaw.com,
                atippie@ecf.courtdrive.com;Karen.Files@gmlaw.com,patricia.dillamar@gmlaw.com,denis
 14             e.walker@gmlaw.com
               United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
 15            Glenn S Walter gwalter@honigman.com
               Gerrick Warrington gwarrington@frandzel.com, achase@frandzel.com
 16            Roye Zur rzur@elkinskalt.com,
                cavila@elkinskalt.com;lwageman@elkinskalt.com;1648609420@filings.docketbird.com
 17
      2. SERVED BY UNITED STATES MAIL: On February 21, 2024, I served the following persons and/or
 18   entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
      and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
 19   addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
      completed no later than 24 hours after the document is filed.
 20      In re itella International LLC                           U.S. Securities and Exchange Commission
         Case No. 10097                                           Attn: Bankruptcy Counsel
 21      RSN                                                      444 South Flower Street, Suite 900
         Served by U.S. Mail or NEF if marked                     Los Angeles, CA 90071-9591
 22      with an *
 23      Attn: BMW Financial Services NA,                         SUITABLE STAFFING SOLUTIONS, INC.
         LLC Department /AIS Portfolio                            c/o Frandzel Robins Bloom & Csato, L.C.
 24      Services, LLC / Amit Sharma (NEF)*                       Attn: Marshall J. August (NEF)*
         4515 N Santa Fe Ave. Dept. APS                           1000 Wilshire Boulevard, 19th Floor
 25      Oklahoma City, OK 73118                                  Los Angeles, California, 90017-2427

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       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
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         Edward Rubacha (NEF)*                                    SKILLSET GROUP LLC
  1      Jennings Haug Keleher McLeod,                            c/o Law Offices of K. Kenneth Kotler Attention: K.
         L.L.P.                                                   Kenneth Kotler (NEF)*
  2      2800 N. Central Avenue, Suite 1800                       1901 Avenue of the Stars, Suite 1100
         Phoenix, AZ 85004-1049                                   Los Angeles, CA 90067
  3
                                                               Additional service per Proof of Service to be filed by Stretto
  4
      3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
  5   EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
      on February 21, 2024, I served the following persons and/or entities by personal delivery, overnight mail
  6   service, or (for those who consented in writing to such service method), by facsimile transmission and/or
      email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
      mail to, the judge will be completed no later than 24 hours after the document is filed.
  7
      SERVED BY PERSONAL DELIVERY
  8   Honorable Sandra R. Klein
      United States Bankruptcy Court
  9   255 E. Temple Street, Suite 1582
      Courtroom 1575
 10   Los Angeles, CA 90012
 11   I declare under penalty of perjury under the laws of the United States of America that the foregoing is
      true and correct.
 12
       February 21, 2024               Lourdes Cruz                                      /s/ Lourdes Cruz
 13
       Date                            Type Name                                         Signature
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       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
